Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 1 of 96 Page ID
                                 #:21821




                                EXHIBIT 1
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Case 2:15-cv-01869-SVW-AJW
     2:15-cv-01869-SVW-AJW Document
                           Document 211-3 Filed10/26/15
                                    139 Filed   04/17/17 Page
                                                          Page102 of
                                                                  of 53
                                                                     96 Page
                                                                        Page ID
                                                                              ID
                                 #:21822
                                  #:4905

  1                SUPPLEMENTAL DECLARATION OF NICHOLAS BRAAK
  2           I, Nicholas Braak, declare as follows:
  3           1.       I am a licensed private investigator, and have worked as a computer
  4   forensics investigator for more than nine years. I am employed by the Mintz Group
  5   LLC (“Mintz”), a corporate research and investigations firm based in New York,
  6   with offices in Washington D.C., London, Hong Kong, Beijing, Nairobi, and six
  7   other cities throughout the world. I have worked for Mintz since January 2014.
  8   During my career in information security and digital forensics, I have participated in
  9   hundreds of investigations involving intellectual property rights, cybercrime, Internet
 10   forensics, and other matters. I make this declaration as a supplement to my
 11   September 11, 2015 declaration, and in further support of Plaintiffs’ motion for
 12   default judgment. I have personal knowledge of the facts contained herein and, if
 13   called upon as a witness, I could and would testify competently about these facts,
 14   except for those matters stated expressly upon information and belief, which matters
 15   I believe to be true.
 16           2.       Mintz was retained in 2014 by Plaintiffs China Central Television
 17   (“CCTV”), China International Communications Co., Ltd. (“CICC”), TVB Holdings
 18   (USA), Inc. (“TVB (USA)”) and DISH Network L.L.C. (“DISH”) (collectively
 19   “Plaintiffs”) to investigate the TVpad device manufactured by defendant Create New
 20   Technology (HK) Limited (“CNT”) and the unlicensed international television
 21   programming provided to U.S. consumers through the TVpad device (the “TVpad
 22   Service”).
 23           3.       I have managed the forensic investigation for this matter and conducted
 24   research at the direction of Christopher Weil, the lead investigator. During the course
 25   of our investigation, Mintz purchased several TVpad3 and TVpad4 devices.
 26   I personally forensically tested each of these TVpad devices and confirmed their
 27   consistent functionality among TVpads of the same model. I also personally viewed
 28   and caused to be recorded streamed content delivered by these devices and have

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      DWT 28187651v2 0094038-000021                       EXHIBIT 1                    (213) 633-6800
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Case 2:15-cv-01869-SVW-AJW
     2:15-cv-01869-SVW-AJW Document
                           Document 211-3 Filed10/26/15
                                    139 Filed   04/17/17 Page
                                                          Page113 of
                                                                  of 53
                                                                     96 Page
                                                                        Page ID
                                                                              ID
                                 #:21823
                                  #:4906

  1   periodically monitored the continued availability of that streamed content through
  2   these devices and the TVpad Service.
  3           4.       As part of my forensic investigation, I have identified the IP addresses
  4   and domain names that the TVpad device and its Infringing TVpad Apps use to
  5   function and deliver CCTV and TVB television programming. I have also
  6   continually monitored the TVpad devices purchased by Mintz to determine whether
  7   the TVpad devices continue to stream CCTV and TVB programming through the
  8   applications available in the TVpad Store.
  9           5.       In my September 11, 2015 declaration, I identified in Exhibit 65 a series
 10   of Internet servers by IP addresses and/or domain names that communicate with the
 11   TVpad device and the Infringing TVpad Apps and that: (1) authenticate the TVpad
 12   device as an authentic TVpad device originating with CNT, which is a necessary
 13   precursor for the Infringing TVpad Apps to function; (2) download to the TVpad
 14   device the elements of the software it uses, including the “TVpad Store”—from
 15   which Infringing TVpad Apps and other apps are made available to users; (3)
 16   download Infringing TVpad Apps; and (4) stream CCTV and TVB programming.
 17           6.       Since compiling the list of information in Exhibit 65 to my September
 18   11 declaration, the IP addresses of servers with which the TVpad device and
 19   Infringing TVpad Apps communicate continues to change as Defendants take steps
 20   to evade Plaintiffs’ efforts to enforce this Court’s preliminary injunction order. I
 21   have therefore updated Exhibit 65 to add the most recent servers, IP addresses and
 22   domain names that Defendants are now using to stream Plaintiffs’ programs through
 23   the TVpad device. A true and correct copy of the updated list is attached hereto as
 24   Exhibit C.
 25           7.       Defendants’ speedy adoption of new IP addresses to evade this Court’s
 26   preliminary injunction order is the key reason that I recommended in my September
 27   11 declaration, and continue to recommend, that the most effective means of
 28   stopping the unauthorized streaming of CCTV and TVB television programming

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Case 2:15-cv-01869-SVW-AJW
     2:15-cv-01869-SVW-AJW Document
                           Document 211-3 Filed10/26/15
                                    139 Filed   04/17/17 Page
                                                          Page124 of
                                                                  of 53
                                                                     96 Page
                                                                        Page ID
                                                                              ID
                                 #:21824
                                  #:4907

  1   through the Infringing TVpad Apps is to order domain name registries and/or
  2   registrars that control the domain names used by Defendants to disable, and at
  3   Plaintiffs’ election transfer, these domain names to the Plaintiffs. There are two
  4   primary reasons that disabling and then transferring the domain names to the
  5   Plaintiffs will be more effective in halting Defendants’ illegal streaming of CCTV
  6   and TVB programs than merely shutting down IP addresses. First, IP addresses
  7   typically change frequently, whereas domain names are usually a “stickier,” more
  8   enduring means of locating a particular server. Second, my testing indicates that
  9   changing the domain names used by the TVpad may require a manual update by
 10   users of the TVpad device. While Defendants can and likely will use new domain
 11   names in the place of any disabled domain names, they will not be able to add
 12   domain names as quickly as they have added IP addresses because it is simply more
 13   cumbersome to add domain names.
 14           8.       I have also noted on TVpad’s websites that in recent days TVpad has
 15   instructed TVpad users to redirect their devices to a new Domain Name System
 16   (DNS) server located at 8.8.8.8 when their TVpad devices stop working. This
 17   process allows TVpad users’ devices to more quickly locate servers at new IP
 18   addresses that replace servers that have been recently disabled, due to Plaintiffs’
 19   enforcement efforts. However, Defendants’ advice to users to redirect their devices
 20   to a new DNS server will not be effective if the domain names used by Defendants
 21   are disabled. For this additional reason, I also continue to recommend that disabling
 22   ///
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Case 2:15-cv-01869-SVW-AJW
     2:15-cv-01869-SVW-AJW Document
                           Document 211-3 Filed10/26/15
                                    139 Filed   04/17/17 Page
                                                          Page135 of
                                                                  of 53
                                                                     96 Page
                                                                        Page ID
                                                                              ID
                                 #:21825
                                  #:4908
  Case
  Case 2:15-cv-01869-SVW-AJW
       2:15-cv-01869-SVW-AJW Document
                                 Document 211-3    Filed10/26/15
                                             139 Filed   04/17/17 Page
                                                                   Page446 of
                                                                           of 53
                                                                              96 Page
                                                                                 Page ID
                                                                                       ID
                                         #:21826
                                          #:4939
                 Exhibit C - TVpad Server IP Addresses and Domain Names



Host                           IP address        Date of detection   Domain Name          Function
ClearDDoS Technologies         103.240.140.142   September 3, 2015   xz.boxepg.com        Initialization
Los Angeles, California                                                                   TVpad3 Operational Content
Defender cloud international   23.234.42.71      September 3, 2015   xzsec.boxepg.com     Initialization
Los Angeles, California                                                                   TVpad3 Operational Content
Defender cloud international   23.234.42.65      September 3, 2015   xzsec.padepg.com     Initialization
Los Angeles, California                                                                   TVpad3 Operational Content
Defender cloud international   23.234.42.72      September 3, 2015   xzsec.listebox.com   Initialization
Los Angeles, California                                                                   TVpad3 Operational Content
Perfect International, Inc     70.36.96.245      September 3, 2015   stbepg.wsxlist.com   TVpad3 Authentication
Los Angeles, California
Enzu                           23.245.203.54     September 3, 2015   stbepg.qaxlist.com   TVpad4 Authentication
Los Angeles, California
Defender cloud international   23.234.41.173     September 3, 2015                        Streaming Video
Los Angeles, California
ClearDDoS Technologies         104.193.92.42     September 3, 2015                        Streaming Video
Los Angeles, California
CloudDDoS Technologies         104.171.230.101   September 3, 2015                        Streaming Video
San Jose, California
CloudDDoS Technologies         45.61.239.39      September 3, 2015                        Streaming Video
San Jose, California
CloudDDoS Technologies         104.167.81.51     September 3, 2015                        Streaming Video
San Jose, California
Sharktech                      170.178.188.195   September 3, 2015                        Streaming Video
Los Angeles, California
CloudDDoS Technologies         45.61.239.26      September 3, 2015                        Streaming Video
San Jose, California
Sharktech                      170.178.188.194   September 3, 2015                        Streaming Video
Los Angeles, California
Sharktech                      107.167.9.243     September 3, 2015                        Streaming Video
Los Angeles, California
Sharktech                      170.178.172.19    September 3, 2015                        Streaming Video
Los Angeles, California
CloudDDoS Technologies         45.61.239.33      September 3, 2015                        Streaming Video
San Jose, California
CloudDDoS Technologies         104.171.230.82    September 3, 2015                        Streaming Video
San Jose, California
Sharktech                      170.178.181.227   September 3, 2015                        Streaming Video
Los Angeles, California
Sharktech                      170.178.182.3     September 3, 2015                        Streaming Video
Los Angeles, California
Sharktech                      107.167.4.227     September 3, 2015                        Streaming Video
Los Angeles, California
Sharktech                      107.167.18.227    September 3, 2015                        Streaming Video
Los Angeles, California



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                                                                                                        EXHIBIT C
  Case
  Case 2:15-cv-01869-SVW-AJW
       2:15-cv-01869-SVW-AJW Document
                                 Document 211-3    Filed10/26/15
                                             139 Filed   04/17/17 Page
                                                                   Page457 of
                                                                           of 53
                                                                              96 Page
                                                                                 Page ID
                                                                                       ID
                                         #:21827
                                          #:4940
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Host                           IP address        Date of detection   Domain Name          Function
CloudDDoS Technologies         104.171.230.74    September 3, 2015                        Streaming Video
San Jose, California
CloudDDoS Technologies         45.61.239.19      September 3, 2015                        Streaming Video
San Jose, California
ClearDDoS Technologies         162.221.13.98     September 3, 2015                        Streaming Video
Los Angeles, California
Enzu                           23.89.100.59      September 3, 2015                        Streaming Video
Los Angeles, California
CloudDDoS Technologies         45.61.239.75      September 3, 2015                        Streaming Video
San Jose, California
ZeroDDOS                       104.201.61.3      September 3, 2015                        Streaming Video
Los Angeles, California
ZeroDDOS                       167.88.205.116    September 3, 2015                        Streaming Video
Los Angeles, California
Cloudflare                     104.20.4.235      September 3, 2015                        Streaming Video
Defender cloud international   23.234.41.171     September 3, 2015                        Streaming Video
Los Angeles, California
Enzu                           104.202.82.178    September 3, 2015                        Streaming Video
Los Angeles, California
Krypt Technologies             98.126.0.98       September 3, 2015                        Streaming Video
Los Angeles, California
Enzu                           107.183.113.242   September 3, 2015                        Streaming Video
Los Angeles, California
Enzu                           23.245.73.18      September 3, 2015                        Streaming Video
Los Angeles, California
Krypt Technologies             98.126.4.194      September 3, 2015                        Streaming Video
Los Angeles, California
Enzu                           23.89.185.2       September 3, 2015                        Streaming Video
Los Angeles, California
Krypt Technologies             174.139.162.50    September 3, 2015                        Streaming Video
Los Angeles, California
Krypt Technologies             174.139.83.4      September 3, 2015                        Streaming Video
Los Angeles, California
Enzu                           107.183.246.226   September 3, 2015                        Streaming Video
Los Angeles, California
CloudDDoS Technologies         104.171.230.86    September 3, 2015                        Streaming Video
San Jose, California
Cloudflare (res.sinohao.com    104.20.4.235      September 3, 2015                        TVpad Store Menus/Graphics
.cdn.cloudflare.net)           104.20.5.235                                               Infringing Apps
                               104.20.7.235
                               104.20.8.235
ClearDDoS Technologies         104.193.92.29     September 3, 2015   cmsres.wsxlist.com   TVpad Store Menus/ Graphics
Los Angeles, California                                                                   Infringing Apps
Enzu                           23.245.203.54     September 3, 2015   bi4.wsxlist.com      TVpad4 Store Menus/Graphics
Los Angeles, California


                                                          2
  Case
  Case 2:15-cv-01869-SVW-AJW
       2:15-cv-01869-SVW-AJW Document
                                 Document 211-3    Filed10/26/15
                                             139 Filed   04/17/17 Page
                                                                   Page468 of
                                                                           of 53
                                                                              96 Page
                                                                                 Page ID
                                                                                       ID
                                         #:21828
                                          #:4941
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Host                           IP address       Date of detection   Domain Name           Function
Enzu                           23.245.203.54    September 3, 2015   btvstb.xqlzoy.com     TVpad4 Store Menus/Graphics
Los Angeles, California
Enzu                           23.245.203.54    September 3, 2015   stbepg.qaxlist.com    TVpad4 Store Menus/Graphics
Los Angeles, California
ZeroDDOS                       167.88.196.51    September 3, 2015   res.qaxlist.com       TVpad Operational Content
Los Angeles, California
Enzu                           23.245.203.54    September 3, 2015   sepg.qaxlist.com      TVpad Operational Content
Los Angeles, California                                                                   Infringing Apps’ Program Guides
ClearDDoS Technologies         162.221.15.79    September 3, 2015   ykhp.livetvpad.com    TVpad3 Operational Content
Los Angeles, California
ClearDDoS Technologies         162.221.15.79    September 3, 2015   gqfc.livetvpad.com    TVpad3 Operational Content
Los Angeles, California
ClearDDoS Technologies         162.221.15.79    September 3, 2015   fc.livetvpad.com      TVpad3 Operational Content
Los Angeles, California
ClearDDoS Technologies         162.221.15.79    September 3, 2015   yhsy.livetvpad.com    TVpad3 Operational Content
Los Angeles, California
ClearDDoS Technologies         162.221.15.79    September 3, 2015   dlgq.livetvpad.com    TVpad3 Operational Content
Los Angeles, California
ClearDDoS Technologies         162.221.15.79    September 3, 2015   sports.livetvpad.com TVpad3 Operational Content
Los Angeles, California
PEER 1 Network Inc             107.6.45.86      September 3, 2015   bsap.wsxlist.com      TVpad3 Operational Content
Santa Ana, CA
Krypt Technologies             174.139.233.3    September 3, 2015   tytuepg.wsxlist.com   TVpad3 Operational Content
Los Angeles, California
Nobis Technology               23.19.131.19     September 3, 2015   force2009web.net      TVpad3 Operational Content
Seattle, Washington
LimeStone Networks             63.143.43.171    September 3, 2015   vistv.plbegy.com      TVpad4 Operational Content
Dallas, Texas
ClearDDoS Technologies         162.221.12.143   September 3, 2015   gyyyer.plbegy.com     TVpad4 Operational Content
Los Angeles, California
Hostspace Networks             198.44.250.177   September 3, 2015   mhleve.oyhrtp.com     TVpad4 Operational Content
Los Angeles, California
LimeStone Networks             74.63.227.30     September 3, 2015   npxyc.prsolive.com    TVpad4 Operational Content
Dallas, Texas
Hostspace Networks             23.234.51.152    September 3, 2015   canpic.vdese.com      VOD Thumbnail graphics
Los Angeles, California
Hostspace Networks             162.211.182.49   December 14, 2014                         DNS Lookup TVpad Operational
                                                                                          Content
Defender cloud international   23.234.42.71     December 14, 2014                         DNS Lookup TVpad Operational
                                                                                          Content
Defender cloud international   23.234.42.65     November 25, 2014                         DNS Lookup TVpad Operational
                                                                                          Content
Defender cloud international   23.234.42.72     December 14.2014                          DNS Lookup TVpad Operational
                                                                                          Content
ClearDDoS Technologies         104.193.92.29    January 30, 2015                          TVpad Authorization




                                                         3
  Case
  Case 2:15-cv-01869-SVW-AJW
       2:15-cv-01869-SVW-AJW Document
                                 Document 211-3    Filed10/26/15
                                             139 Filed   04/17/17 Page
                                                                   Page479 of
                                                                           of 53
                                                                              96 Page
                                                                                 Page ID
                                                                                       ID
                                         #:21829
                                          #:4942
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Host                           IP address        Date of detection   Domain Name   Function
Defender cloud international   23.234.42.67      January 30, 2015                  TVpad Authorization
ClearDDoS Technologies         23.234.42.66      November 25, 2014                 TVpad Store Menus/Graphics
Datashack                      198.204.242.5     November 25, 2014                 TVpad Store Menus/ Graphics
                                                                                   Infringing Apps
ClearDDoS Technologies         103.240.140.149   January 30, 2015                  TVpad4 Store Menus/Graphics

CloudDDOS                      168.235.240.115   January 30, 2015                  TVpad Operational Content

Sharktech                      107.167.14.146    November 25, 2014                 TVpad Operational Content

CloudDDOS                      168.235.240.115   January 30, 2015                  TVpad Operational Content
                                                                                   Infringing Apps’ Program Guides
Defender cloud international   23.234.40.235     November 25, 2014                 TVpad Operational Content

China Telecom                  23.234.40.235     November 25, 2014                 TVpad Operational Content

Hostspace Networks             162.211.182.173   November 25, 2014                 TVpad Operational Content

Hostpace Networks              162.211.182.173   November 25, 2014                 TVpad Operational Content

Hostpace Networks              162.211.182.173   November 25, 2014                 TVpad Operational Content

Nobis Technology               23.105.74.107     November 25, 2014                 TVpad Operational Content

Enzu                           23.88.131.131     January 30, 2015                  TVpad4 Operational Content

Protected by Cloudflare        104.28.24.55      January 30, 2015                  TVpad4 Operational Content
Location unknown
Sharktech                      107.167.7.34      January 30, 2015                  TVpad4 Operational Content

Chinanet                       61.174.48.109     January 30, 2015                  TVpad4 Operational Content
China
ClearDDoS Technologies         162.221.13.44     January 30, 2015                  TVpad4 Operational Content

Hostspace Networks             162.211.182.173   January 30, 2015                  TVpad4 Operational Content

Hostspace Networks             162.211.182.173   January 30, 2015                  TVpad4 Operational Content

Sharktech                      107.167.15.67     November 25, 2014                 VOD Thumbnail graphics

ClearDDoS Technologies         103.240.140.142   June 24, 2015                     DNS Lookup
                                                                                   TVpad Operational Content
Defender cloud international   23.234.42.71      June 24, 2015                     DNS Lookup
                                                                                   TVpad Operational Content
Defender cloud international   23.234.42.65      June 24, 2015                     DNS Lookup
                                                                                   TVpad Operational Content
Defender cloud international   23.234.42.72      June 24, 2015                     DNS Lookup
                                                                                   TVpad Operational Content
ClearDDoS Technologies         104.193.92.29     June 24, 2015                     TVpad Authorization




                                                          4
 Case
  Case2:15-cv-01869-SVW-AJW
       2:15-cv-01869-SVW-AJW Document
                                 Document211-3    Filed10/26/15
                                             139 Filed  04/17/17 Page
                                                                  Page48
                                                                       10ofof53
                                                                              96 Page
                                                                                  PageID
                                                                                       ID
                                         #:21830
                                          #:4943
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Host                           IP address        Date of detection   Domain Name   Function
Defender cloud international   23.234.42.67      June 24, 2015                     TVpad Authorization

Sharktech                      107.167.14.141    June 24, 2015                     TVpad Store Menus/Graphics

ClearDDoS Technologies         104.193.92.8      June 24, 2015                     TVpad Store Menus/ Graphics
                                                                                   Infringing Apps
Enzu                           23.245.203.53     June 24, 2015                     TVpad4 Store Menus/Graphics

Hostspace Networks             162.211.182.173   June 24, 2015                     TVpad Operational Content

Sharktech                      107.167.14.140    June 24, 2015                     TVpad Operational Content
                                                                                   Infringing Apps’ Program Guides
Defender cloud international   23.234.40.235     June 24, 2015                     TVpad Operational Content

Defender cloud international   23.234.40.235     June 24, 2015                     TVpad Operational Content

Cloud-CN                       103.232.215.133   June 24, 2015                     TVpad Operational Content

Cloud-CN                       103.232.215.133   June 24, 2015                     TVpad Operational Content

Nobis Technology               23.105.74.107     June 24, 2015                     TVpad Operational Content

Hostspace Networks             23.234.51.85      June 24, 2015                     TVpad4 Operational Content

ClearDDoS Technologies         162.221.12.143    June 24, 2015                     TVpad4 Operational Content

Chinanet                       61.174.48.109     June 24, 2015                     TVpad4 Operational Content
China
ClearDDoS Technologies         162.221.13.44     June 24, 2015                     TVpad4 Operational Content

Gorilla Servers                146.71.102.90     June 24, 2015                     TVpad4 Operational Content

Hostspace Networks             162.211.182.173   June 24, 2015                     TVpad4 Operational Content

CloudDDOS                      168.235.240.115   June 24, 2015                     VOD Thumbnail graphics

Enzu                           104.151.28.194    January 30, 2015                  Streaming Video
Cloudddos                      104.171.230.30    January 30, 2015                  Streaming Video
Technology
Enzu                           23.89.39.194      January 30, 2015                  Streaming Video
Cloudddos Technology           168.235.240.149   January 30, 2015                  Streaming Video
Clearddos Technologies         104.193.92.111    January 30, 2015                  Streaming Video
Cloudddos Technology           168.235.241.77    January 30, 2015                  Streaming Video
Clearddos Technologies         162.221.12.41     January 30, 2015                  Streaming Video
Clearddos Technologies         104.193.92.60     January 30, 2015                  Streaming Video
Cloudddos Technology           168.235.241.60    January 30, 2015                  Streaming Video




                                                          5
 Case
  Case2:15-cv-01869-SVW-AJW
       2:15-cv-01869-SVW-AJW Document
                                 Document211-3    Filed10/26/15
                                             139 Filed  04/17/17 Page
                                                                  Page49
                                                                       11ofof53
                                                                              96 Page
                                                                                  PageID
                                                                                       ID
                                         #:21831
                                          #:4944
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Host                     IP address        Date of detection   Domain Name   Function
Esited                   104.171.230.23    January 30, 2015                  Streaming Video
Esited                   104.171.230.16    January 30, 2015                  Streaming Video
Cloudddos Technology     168.235.240.65    January 30, 2015                  Streaming Video
Cloudddos Technology     168.235.241.10    January 30, 2015                  Streaming Video
Clearddos Technologies   23.234.41.9       January 30, 2015                  Streaming Video
Krypt Technologies       98.126.14.26      January 30, 2015                  Streaming Video
Cloudddos Technology     104.171.230.30    January 23, 2015                  Streaming Video
Cloudddos Technology     168.235.240.149   January 23, 2015                  Streaming Video
ClearDDoS Technologies   104.193.92.111    January 23, 2015                  Streaming Video
Esited                   192.225.233.202   January 23, 2015                  Streaming Video
Enzu                     104.151.28.194    January 23, 2015                  Streaming Video
Enzu                     199.48.69.146     January 23, 2015                  Streaming Video
Enzu                     23.89.39.194      January 23, 2015                  Streaming Video
Cloudddos Technology     168.235.241.70    January 23, 2015                  Streaming Video
Cloudddos Technology     104.171.230.72    January 23, 2015                  Streaming Video
Cloudddos Technology     168.235.241.77    January 23, 2015                  Streaming Video
Clearddos Technologies   162.221.12.215    January 23, 2015                  Streaming Video
Cloudddos Technology     168.235.241.60    January 23, 2015                  Streaming Video
Cloudddos Technology     168.235.241.70    January 23, 2015                  Streaming Video
Cloudddos Technology     104.171.230.72    January 23, 2015                  Streaming Video
Cloudddos Technology     168.235.241.77    January 23, 2015                  Streaming Video
Clearddos Technologies   162.221.12.215    January 23, 2015                  Streaming Video
Clearddos Technologies   162.221.12.215    January 30, 2015                  Streaming Video

Krypt Technologies       67.198.192.3      January 30, 2015                  Streaming Video
Cloudddos Technology     168.235.241.77    January 30, 2015                  Streaming Video
Cloudddos Technology     104.171.230.72    January 30, 2015                  Streaming Video
Cloudddos Technology     168.235.241.60    January 30, 2015                  Streaming Video

Krypt Technologies       98.126.14.26      January 30, 2015                  Streaming Video
Cloudddos Technology     104.171.230.72    January 30, 2015                  Streaming Video
Clearddos Technologies   162.221.12.215    January 30, 2015                  Streaming Video
Cloudddos Technology     168.235.241.60    January 30, 2015                  Streaming Video

Krypt Technologies       98.126.14.26      January 30, 2015                  Streaming Video



                                                    6
 Case
  Case2:15-cv-01869-SVW-AJW
       2:15-cv-01869-SVW-AJW Document
                                 Document211-3    Filed10/26/15
                                             139 Filed  04/17/17 Page
                                                                  Page50
                                                                       12ofof53
                                                                              96 Page
                                                                                  PageID
                                                                                       ID
                                         #:21832
                                          #:4945
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Host                           IP address        Date of detection   Domain Name   Function
Cloudddos Technology           168.235.241.77    January 30, 2015                  Streaming Video
Leaseweb                       162.210.198.179   January 30, 2015                  Streaming Video

Krypt Technologies             67.198.192.3      January 30, 2015                  Streaming Video
CloudDDOS                      168.235.240.79    June 25, 2015                     Streaming Video
CloudDDOS                      168.235.240.12    June 25, 2015                     Streaming Video
CloudDDOS                      168.235.240.173   June 25, 2015                     Streaming Video
ClearDDOS                      104.193.92.62     June 25, 2015                     Streaming Video
ZERO DDOS LLC                  104.167.81.52     June 25, 2015                     Streaming Video
Sharktech                      107.167.15.100    June 25, 2015                     Streaming Video
CloudDDOS                      104.171.230.32    June 25, 2015                     Streaming Video
CloudDDOS                      168.235.240.79    June 25, 2015                     Streaming Video
CloudDDOS                      168.235.241.12    June 25, 2015                     Streaming Video
ZERO DDOS LLC                  104.167.81.52     June 25, 2015                     Streaming Video
CloudDDOS                      104.171.230.25    June 25, 2015                     Streaming Video
Defender cloud international   23.234.41.14      June 25, 2015                     Streaming Video
Enzu                           107.183.236.115   June 23-25, 2015                  Streaming Video
Krypt Technologies             67.198.192.3      June 23-25, 2015                  Streaming Video
CloudDDOS                      104.171.230.87    June 24-25, 2015                  Streaming Video
Krypt Technologies             174.139.162.52    June 24-25, 2015                  Streaming Video
CloudDDOS                      104.171.230.25    June 26, 2015                     Streaming Video
Defender cloud international   23.234.41.14      June 26, 2015                     Streaming Video
CloudDDOS                      104.171.230.32    June 26, 2015                     Streaming Video
CloudDDOS                      168.235.240.79    June 26, 2015                     Streaming Video
CloudDDOS                      168.235.240.173   June 26, 2015                     Streaming Video
ZERO DDOS LLC                  104.167.81.52     June 26, 2015                     Streaming Video
Krypt Technologies             174.139.83.4      June 26, 2015                     Streaming Video
CloudDDOS                      168.235.240.115   June 26, 2015                     Streaming Video
Krypt Technologies             67.198.192.3      June 26, 2015                     Streaming Video
Krypt Technologies             98.126.4.194      June 26, 2015                     Streaming Video
Krypt Technologies             98.126.14.27      June 26, 2015                     Streaming Video
Hostspace Networks             162.211.182.173   June 26, 2015                     TVpad 3 Operational Content
ClearDDoS Technologies         162.221.15.179    June 26, 2015                     TVpad 3 Operational Content



                                                          7
 Case
  Case2:15-cv-01869-SVW-AJW
       2:15-cv-01869-SVW-AJW Document
                                 Document211-3    Filed10/26/15
                                             139 Filed  04/17/17 Page
                                                                  Page51
                                                                       13ofof53
                                                                              96 Page
                                                                                  PageID
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                                         #:21833
                                          #:4946
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Host                    IP address        Date of detection   Domain Name          Function
Sharktech               208.98.26.130     June 26, 2015                            TVpad 3 Operational Content
Hostspace Networks      162.211.182.166   June 26, 2015                            TVpad3 Operational Content

Enzu                    198.56.193.123    June 26, 2015                            Streaming Video
ZERO DDOS LLC           167.88.195.51     June 26, 2015                            Streaming Video
Sharktech               104.171.230.3     June 26, 2015                            Streaming Video
Enzu                    23.89.197.35      June 26, 2015                            Streaming Video
Krypt Technologies      67.198.158.171    June 26, 2015                            Streaming Video
SolidTools              198.40.56.19      June 26, 2015                            Streaming Video
CloudDDOS               168.235.240.20    June 26, 2015                            Streaming Video
C3 Networks             206.226.64.44     October 14, 2015                         Streaming Video
C3 Networks             206.226.64.179    October 14, 2015                         Streaming Video
C3 Networks             107.151.129.22    October 14, 2015                         Streaming Video
C3 Networks             107.151.131.5     October 14, 2015                         Streaming Video
C3 Networks             107.151.28.205    October 14, 2015                         Streaming Video
C3 Networks             107.155.8.40      October 14, 2015                         Streaming Video
C3 Networks             107.155.5.42      October 14, 2015                         Streaming Video
C3 Networks             107.151.128.54    October 14, 2015                         Streaming Video
C3 Networks             107.151.146.14    October 14, 2015                         Streaming Video
C3 Networks             107.151.128.102   October 14, 2015                         Streaming Video
C3 Networks             107.151.128.114   October 14, 2015                         Streaming Video
C3 Networks             107.151.128.98    October 14, 2015                         Streaming Video
C3 Networks             107.151.131.134   October 21, 2015                         Streaming Video
Hostspace               192.126.116.213   October 21, 2015                         TVpad Operational Content
Sharktech               104.37.247.147    October 21, 2015    xz.boxepg.com        DNS Lookup
                                                                                   TVpad Operational Content
Sharktech               208.98.42.195     October 15, 2015    bi4.wsxlist.com      TVpad Operational Content
                                                              stbepg.qaxlist.com
Sharktech               174.128.243.36    October 15, 2015    btvstb.xqlzoy.com    Streaming Video
Limestone Networks      63.143.43.171     October 15, 2015    vistv.plbegy.com     TVpad Operational Content
ZBUSA                   192.225.233.60    October 14, 2015                         TVpad Operational Content
Perfect International   70.36.96.245      October 15, 2015    stbepg.wsxlist.com   TVpad Operational Content
                                                              cmsres.wsxlist.com
Enzu                    104.171.230.102   October 21, 2015                         Streaming Video
Enzu                    104.171.230.79    October 21, 2015                         Streaming Video


                                                   8
 Case
  Case2:15-cv-01869-SVW-AJW
       2:15-cv-01869-SVW-AJW Document
                                 Document211-3    Filed10/26/15
                                             139 Filed  04/17/17 Page
                                                                  Page52
                                                                       14ofof53
                                                                              96 Page
                                                                                  PageID
                                                                                       ID
                                         #:21834
                                          #:4947
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Host                  IP address        Date of detection   Domain Name   Function
Enzu                  104.171.230.74    October 21, 2015                  Streaming Video
Enzu                  107.155.5.42      October 21, 2015                  Streaming Video
Enzu                  23.244.42.226     October 21, 2015                  Streaming Video
Enzu                  104.167.81.52     October 21, 2015                  Streaming Video
Enzu                  23.244.84.226     October 21, 2015                  Streaming Video
Enzu                  23.89.197.34      October 21, 2015                  Streaming Video
Enzu                  104.183.113.245   October 15, 2015                  Streaming Video
Enzu                  104.151.28.205    October 15, 2015                  Streaming Video
Enzu                  104.171.230.92    October 15, 2015                  Streaming Video
Enzu                  107.183.246.229   October 15, 2015                  Streaming Video
Krypt                 98.126.0.102      October 15, 2015                  Streaming Video
Krypt                 98.126.4.198      October 15, 2015                  Streaming Video
Krypt                 67.198.128.30     October 15, 2015                  Streaming Video
Leaseweb              207.244.83.48     October 15, 2015                  Streaming Video
Enzu                  104.202.82.182    October 15, 2015                  Streaming Video
Enzu                  107.183.113.246   October 15, 2015                  Streaming Video
Enzu                  107.183.236.118   October 15, 2015                  Streaming Video
Enzu                  23.244.76.190     October 15, 2015                  Streaming Video
Enzu                  199.48.69.142     October 15, 2015                  Streaming Video
Enzu                  107.183.246.118   October 15, 2015                  Streaming Video
Enzu                  23.89.185.6       October 15, 2015                  Streaming Video
Enzu                  104.151.28.206    October 15, 2015                  Streaming Video
Enzu                  23.88.126.14      October 15, 2015                  Streaming Video
Enzu                  107.183.246.230   October 15, 2015                  Streaming Video
Enzu                  23.244.76.189     October 15, 2015                  Streaming Video
Enzu                  23.244.82.102     October 15, 2015                  Streaming Video
Enzu                  107.183.246.117   October 15, 2015                  Streaming Video
Enzu                  23.234.51.153     October 15, 2015                  Streaming Video
Enzu                  23.234.51.193     October 15, 2015                  Streaming Video
Enzu                  23.244.76.186     October 15, 2015                  Streaming Video
Enzu                  199.48.69.138     October 15, 2015                  Streaming Video
Enzu                  23.88.126.10      October 15, 2015                  Streaming Video



                                                 9
 Case
  Case2:15-cv-01869-SVW-AJW
       2:15-cv-01869-SVW-AJW Document
                                 Document211-3    Filed10/26/15
                                             139 Filed  04/17/17 Page
                                                                  Page53
                                                                       15ofof53
                                                                              96 Page
                                                                                  PageID
                                                                                       ID
                                         #:21835
                                          #:4948
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Host                  IP address        Date of detection   Domain Name   Function
Enzu                  104.151.28.202    October 15, 2015                  Streaming Video
Enzu                  107.183.246.114   October 15, 2015                  Streaming Video
Enzu                  107.183.236.114   October 15, 2015                  Streaming Video
Tzulo                 206.226.64.44     October 14, 2015                  Streaming Video
Tzulo                 206.226.64.179    October 14, 2015                  Streaming Video




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Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 16 of 96 Page ID
                                 #:21836




                                 EXHIBIT 2

 Document2
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 17 of 96 Page ID
                                     #:21837
                       TVpad4 IP Addresses and Domain Names



Host                  IP address        Date of detection Domain Name      Function
                                TVpad4 connected through a US IP address
Alibaba (Hong Kong)   47.90.105.42      April 14, 2017   appepg.lpvlj.nz   TVpad4 Authentication
Enzu (US)             23.244.43.236     April 14, 2017   xml.wwcwd.es      TVpad4 Operational Content
Cloudflare (US)       104.27.153.76     April 14, 2017   res.blhhn.nz      TVpad4 Operational Content
eNom (US)             69.64.147.242     April 14, 2017   res.kkpsg.es      TVpad4 Operational Content
AZURE                 45.61.239.11      April 14, 2017   poxy.thryee.es    TVpad4 Operational Content
TECHNOLOGY (US)
Defender Network      23.234.13.27      April 14, 2017                     Live, Replay Live and VOD
(US)                                                                       Streaming Video
AZURE                 45.61.239.33      April 14, 2017                     Live, Replay Live and VOD
TECHNOLOGY (US)                                                            Streaming Video
AZURE                 104.171.230.80    April 14, 2017                     Live, Replay Live and VOD
TECHNOLOGY (US)                                                            Streaming Video
AZURE                 104.171.230.102   April 14, 2017                     Live, Replay Live and VOD
TECHNOLOGY (US)                                                            Streaming Video
AZURE                 45.61.239.122     April 14, 2017                     Live, Replay Live and VOD
TECHNOLOGY (US)                                                            Streaming Video
AZURE                 104.171.230.3     April 14, 2017                     Live, Replay Live and VOD
TECHNOLOGY (US)                                                            Streaming Video
AZURE                 45.61.239.180     April 14, 2017                     Live, Replay Live and VOD
TECHNOLOGY (US)                                                            Streaming Video
Zenlayer (US)         23.236.123.39     April 14, 2017                     Live, Replay Live and VOD
                                                                           Streaming Video
Zenlayer (US)         107.151.128.172   April 14, 2017                     Live, Replay Live and VOD
                                                                           Streaming Video
Zenlayer (US)         107.155.5.136     April 14, 2017                     Live, Replay Live and VOD
                                                                           Streaming Video
Zenlayer (US)         23.236.123.53     April 14, 2017                     Live, Replay Live and VOD
                                                                           Streaming Video
Zenlayer (US)         107.151.129.45    April 14, 2017                     Live, Replay Live and VOD
                                                                           Streaming Video
Zenlayer (US)         107.151.129.22    April 14, 2017                     Live, Replay Live and VOD
                                                                           Streaming Video
HostSpace (US)        23.234.51.208     April 14, 2017                     Live, Replay Live and VOD
                                                                           Streaming Video
HostSpace (US)        23.234.13.40      April 14, 2017                     Live, Replay Live and VOD
                                                                           Streaming Video
HostSpace (US)        23.234.51.105     April 14, 2017                     Live, Replay Live and VOD
                                                                           Streaming Video
ZERO DDOS (US)        104.167.81.53     April 14, 2017                     Live, Replay Live and VOD
                                                                           Streaming Video


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                                                                                        EXHIBIT 2
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 18 of 96 Page ID
                                       #:21838
                     blueTV Server IP Addresses and Domain Names



Host               IP address        Date of detection Domain Name        Function
                             blueTV connected through a US IP address
Nobis Technology   23.81.180.59      April 4, 2017    stbepg.adynd.top    blueTV Authentication
(US)
Cloudflare         104.31.84.32      April 4, 2017    djres.grgog.top     blueTV apps store/download
Enzu (US)          23.244.43.238     April 4, 2017    bi.ugddb.nz         blueTV Operational Content
Enzu (US)          23.244.76.2       April 4, 2017    poxy.blueseae.top   blueTV Operational Content
Zenlayer (US)      107.151.136.130   April 4, 2017    poxy.hrsnos.com     blueTV Operational Content
Nobis Technology   23.81.180.62      April 4, 2017    xml.edijv.top       blueTV Operational Content
(US)
Nobis Technology   23.81.180.61      April 4, 2017    appepg2.appepg.es   blueTV Operational Content
(US)                                                  xz.yhnbox.com
Cloudflare         104.31.84.109     April 4, 2017    res.kkpsg.es        blueTV Operational Content
Cloudflare         104.28.8.33       April 4, 2017    res.pxhdy.top       blueTV Operational Content
Clear DDOS (US)    104.193.92.6      April 4, 2017    cnpic.hhnff.top     blueTV Operational Content
Defender Network   23.234.13.22      April 4, 2017                        Live, Replay Live and VOD
(US)                                                                      Streaming Video
Defender Network   23.234.51.96      April 4, 2017                        Live, Replay Live and VOD
(US)                                                                      Streaming Video
Clear DDOS (US)    162.221.12.64     April 4, 2017                        Live, Replay Live and VOD
                                                                          Streaming Video
Azure Tech (US)    104.171.230.15    April 4, 2017                        Live, Replay Live and VOD
                                                                          Streaming Video
Azure Tech (US)    45.61.239.141     April 4, 2017                        Live, Replay Live and VOD
                                                                          Streaming Video
Zenlayer (US)      107.151.128.38    April 4, 2017                        Live, Replay Live and VOD
                                                                          Streaming Video
Zenlayer (US)      107.151.136.131   April 4, 2017                        Live, Replay Live and VOD
                                                                          Streaming Video
Zenlayer (US)      107.151.128.108   April 4, 2017                        Live, Replay Live and VOD
                                                                          Streaming Video




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Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 19 of 96 Page ID
                                 #:21839




                               EXHIBIT 3
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 20 of 96 Page ID
                                 #:21840




                                                                       EXHIBIT 3
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 21 of 96 Page ID
                                 #:21841
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 22 of 96 Page ID
                                 #:21842
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 23 of 96 Page ID
                                 #:21843
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 24 of 96 Page ID
                                 #:21844




                               EXHIBIT 4
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 25 of 96 Page ID
                                 #:21845
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 26 of 96 Page ID
                                 #:21846




                               EXHIBIT 5
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 27 of 96 Page ID
                                 #:21847




                                                                       EXHIBIT 5
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 28 of 96 Page ID
                                 #:21848




                               EXHIBIT 6
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 29 of 96 Page ID
                                 #:21849




                                                                                 EXHIBIT 6
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 30 of 96 Page ID
                                 #:21850




                               EXHIBIT 7
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 31 of 96 Page ID
                                 #:21851




                                                                                 EXHIBIT 7
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 32 of 96 Page ID
                                 #:21852
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 33 of 96 Page ID
                                 #:21853
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 34 of 96 Page ID
                                 #:21854
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 35 of 96 Page ID
                                 #:21855
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 36 of 96 Page ID
                                 #:21856




                               EXHIBIT 8
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 37 of 96 Page ID
                                 #:21857




                                                                      EXHIBIT 8
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 38 of 96 Page ID
                                 #:21858
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 39 of 96 Page ID
                                 #:21859
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 40 of 96 Page ID
                                 #:21860
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 41 of 96 Page ID
                                 #:21861
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 42 of 96 Page ID
                                 #:21862




                               EXHIBIT 9
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 43 of 96 Page ID
                                 #:21863




                                                                                 EXHIBIT 9
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 44 of 96 Page ID
                                 #:21864




                               EXHIBIT 10
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 45 of 96 Page ID
                                 #:21865




                                                                                 EXHIBIT 10
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 46 of 96 Page ID
                                 #:21866
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 47 of 96 Page ID
                                 #:21867
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 48 of 96 Page ID
                                 #:21868
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 49 of 96 Page ID
                                 #:21869
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 50 of 96 Page ID
                                 #:21870
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 51 of 96 Page ID
                                 #:21871
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 52 of 96 Page ID
                                 #:21872
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 53 of 96 Page ID
                                 #:21873
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 54 of 96 Page ID
                                 #:21874
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 55 of 96 Page ID
                                 #:21875
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 56 of 96 Page ID
                                 #:21876
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 57 of 96 Page ID
                                 #:21877
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 58 of 96 Page ID
                                 #:21878
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 59 of 96 Page ID
                                 #:21879
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 60 of 96 Page ID
                                 #:21880
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 61 of 96 Page ID
                                 #:21881




                               EXHIBIT 11
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 62 of 96 Page ID
                                  #:21882




 1   CARLA A. McCAULEY (State Bar No. 223910)
        carlamccauley@dwt.com
 2   DAVIS WRIGHT TREMAINE LLP
     865 South Figueroa Street, 24th Floor
 3   Los Angeles, California 90017-2566
     Tel.: (213) 633-6800 Fax: (213) 633-6899
 4
     ROBERT D. BALIN (pro hac vice)
 5      robbalin@dwt.com
     LACY H. KOONCE, III (pro hac vice)
 6      lancekoonce@dwt.com
     SAMUEL BAYARD (pro hac vice)
 7      samuelbayard@dwt.com
     GEORGE WUKOSON (pro hac vice)
 8      georgewukoson@dwt.com
     DAVIS WRIGHT TREMAINE LLP
 9   1251 Avenue of the Americas, 21st Floor
     New York, New York 10020
10   Tel.: (212) 489-8230 Fax: (212) 489-8340
     ATTORNEYS FOR PLAINTIFFS
11                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
12

13   CHINA CENTRAL TELEVISION, a China )                          Case No.
     company; CHINA INTERNATIONAL             )                   CV 15-1869 SVW (AJWx)
14   COMMUNICATIONS CO., LTD., a China )
     company; TVB HOLDINGS (USA), INC., a )                       [PROPOSED] SECOND          Formatted: Font: Bold, All caps

15   California corporation; and DISH         )                   AMENDED ORDER GRANTING
     NETWORK L.L.C., a Colorado limited       )                   PLAINTIFFS’ MOTION FOR
16   liability company,                       )                   DEFAULT JUDGMENT AND
                             Plaintiffs,      )                   PERMANENT INJUNCTION
17           vs.                              )                   AGAINST DEFENDANTS
                                              )                   CREATE NEW TECHNOLOGY
     CREATE NEW TECHNOLOGY (HK)               )                   (HK) LIMITED AND HUA
18   LIMITED, a Hong Kong company; HUA        )                   YANG INTERNATIONAL
     YANG INTERNATIONAL TECHNOLOGY )                              TECHNOLOGY LTD.
19   LTD., a Hong Kong company; SHENZHEN )
     GREATVISION NETWORK                      )
20   TECHNOLOGY CO. LTD., a China             )
     company; CLUB TVPAD, INC., a California )
21   corporation; BENNETT WONG, an            )
     individual; ASHA MEDIA GROUP INC.        )
22   d/b/a TVPAD.COM, a Florida corporation; )
     AMIT BHALLA, an individual;              )
23   NEWTVPAD LTD CO. a/k/a TVPAD USA, )
     a Texas corporation; LIANGZHONG ZHOU, )
24   an individual; HONGHUI CHEN d/b/a e-     )
     Digital, an individual; JOHN DOE 1 d/b/a )
25   BETV; JOHN DOE 2 d/b/a YUE HAI; JOHN )
     DOE 3 d/b/a 516; JOHN DOE 4 d/b/a HITV; )
26   JOHN DOE 5 d/b/a GANG YUE; JOHN          )
     DOE 6 d/b/a SPORT ONLINE; JOHN DOE 7 )
27   d/b/a GANG TAI WU XIA; and JOHN DOES)
     8-10,                                    )
28
                             Defendants.      )                                              Formatted: Font: 10 pt


     [Proposed] Second Amended Order Granting Default Judgment and Permanent Injunction
     DWT 30172351v1 0094038-000021




                                                                                           EXHIBIT 11
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 63 of 96 Page ID
                                  #:21883




 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2           The Court has considered the Motion forto Amend Default Judgment and
 3   Permanent Injunction of Plaintiffs China Central Television (“CCTV”), China
 4   International Communications Co., Ltd. (“CICC”), TVB Holdings (USA), Inc.
 5   (“TVB (USA)”), and DISH Network L.L.C. (“DISH”) (collectively, “Plaintiffs”),
 6   against Defendants Create New Technology (HK) Limited and Hua Yang
 7   International Technology Limited (“Defendants”) and all documents in support
 8   thereof. Good cause appearing to enter the requested relief, IT IS HEREBY
 9   ORDERED that Plaintiffs’ Motion is GRANTED, and Judgment shall be and hereby
10   is entered against Defendants in this action as follows:
11           1.       For purposes of this Default Judgment and Permanent Injunction, the
12   following definitions shall apply:
13                    a.       “Plaintiffs’ Copyrighted Programming” shall mean each of those
14           broadcast television programming works, or portions thereof, whether now in
15           existence or later created, in which the Plaintiffs, or any of them (or any
16           parent, subsidiary, or affiliate of any of the Plaintiffs), owns or controls an
17           exclusive right under the United States Copyright Act, 17 U.S.C. §§ 101 et
18           seq., including without limitation all copyrighted programs identified in
19           Exhibit A hereto;
20                    b.       “TVpad Device” shall mean the television set-top devices
21           marketed as TVpad3 and TVpad4, and any other set-top devices that offer for
22           download or allow use of the Infringing TVpad Apps;
23                    c.       “TVpad Store” shall mean any combination of software and/or
24           services whereby users can select and download software applications onto
25           the TVpad Device;
26                    d.       “TVpad Apps” shall mean software applications and associated
27           services that are designed for use on the TVpad Device and available for
28           download through the TVpad Store;
                                                                                                                           Formatted: Font: 10 pt
                                                                                          DAVIS WRIGHT TREMAINE LLP
                                                         1                               865 S. FIGUEROA ST, SUITE 2400
                                                                                      LOS ANGELES, CALIFORNIA 90017-2566
     [Proposed] Second Amended Order Granting Default Judgment and Permanent Injunction            (213) 633-6800
                                                                                                 Fax: (213) 633-6899
     DWT 30172351v1 0094038-000021
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 64 of 96 Page ID
                                  #:21884




 1                    e.       “Infringing TVpad Apps” shall mean any TVpad App or similar
 2           application used with a Comparable System whereby Plaintiffs’ Copyrighted
 3           Programming is publicly performed without authorization by transmission to
 4           members of the public, including but not limited to the TVpad Apps and
 5           blueTV device app identified in Exhibit B hereto;
 6                    f.       “TVpad Service” shall mean transmission of Plaintiffs
 7           Copyrighted Programming through the TVpad Device and the Infringing
 8           TVpad Apps;
 9                    g.       “Comparable System” shall mean any device, data transmission
10           service or application that provides users unauthorized access to Plaintiffs’
11           Copyrighted Programming, using any peer to peer or internet based
12           transmission, file sharing or content delivery technology, including but not
13           limited to the blueTV device;
14                    h.       “TVpad Websites” shall mean the websites located at the domain
15           names itvpad.com, mtvpad.com and tvpadfans.com and any other websites
16           maintained by Defendants or pursuant to their direction, that distribute, sell,
17           advertise or promote any TVpad Device, the TVpad Service, or any
18           Comparable System, or are otherwise utilized in furtherance of any of the
19           activities enjoined in Paragraphs 9, 10 and 13 hereinbelow;
20                    i.       “CCTV Marks” shall mean the word marks “CCTV” and “CCTV
21           AMERICA” and the stylized CCTV logo, and the design mark “CCTV
22           AMERICA” registered with the U.S. Patent and Trademark Office,
23           Application Serial No. 86239098;
24                    j.        “TVB Marks” shall mean (a) the word mark JADE (U.S. Serial
25           No. 76406416); (b) the JADE logo (U.S. Serial No. 76445114 and U.S.
26           Application Serial No. 86171201); (c) the word mark TVB (U.S. Application
27           Serial No. 86171162); and the Chinese-language word mark for THE JADE
28           CHANNEL (U.S. Serial No. 76407746); and
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 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 65 of 96 Page ID
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 1                    k.       “Plaintiffs’ Marks” shall mean the CCTV Marks and TVB
 2           Marks.
 3           2.       This Court has personal jurisdiction over Defendants and jurisdiction
 4   over the subject matter at issue pursuant to 28 U.S. C. §§ 1331, 1338 and 1367, as
 5   well as 15 U.S.C. § 1121(a). This Court has continuing jurisdiction to enforce the
 6   terms and provisions of this Default Judgment and Permanent Injunction.
 7           3.       Plaintiffs’ copyrights in Plaintiffs’ Copyrighted Programming are valid
 8   and enforceable.
 9           4.       Plaintiffs’ Marks are valid and enforceable.
10           5.       Defendants have committed and continue to commit the following acts:
11                    a.       transmitting video of Plaintiffs’ Copyrighted Programming into
12           the United States without authorization through the TVpad Device and
13           Infringing TVpad Apps;
14                    b.       retransmitting Plaintiffs’ Copyrighted Programming to TVpad
15           users, capturing television programs and converting them to Internet-friendly
16           formats, streaming such content using peer-to-peer technology, directly
17           streaming content to the United States, and making and storing copies of
18           Plaintiffs’ Copyrighted Programming for later playback at the request of
19           TVpad users;
20                    c.       unlawfully publicly performing and/or authorizing others to
21           publicly perform Plaintiffs’ Copyrighted Programming;
22                    d.       unlawfully reproducing and distributing and/or authorizing others
23           to reproduce and distribute Plaintiffs’ Copyrighted Programming;
24                    e.       unlawfully publicly displaying and/or authorizing others to
25           publicly display Plaintiffs’ Copyrighted Programming in the United States;
26                    f.       marketing the availability of Plaintiffs’ Copyrighted
27           Programming through the TVpad Device and Infringing TVpad Apps;
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 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 66 of 96 Page ID
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 1                    g.       manufacturing, distributing, maintaining and marketing the
 2           TVpad Service, the TVpad device and the TVpad Store, and Infringing TVpad
 3           Apps, all with the object of promoting their use to infringe Plaintiffs’
 4           Copyrighted Programming, thereby knowingly and intentionally inducing
 5           infringement of Plaintiffs’ Copyrighted Programming and materially
 6           contributing to the continued infringement of Plaintiffs’ Copyrighted
 7           Programming by third parties;
 8                    h.       continuing the acts detailed in ¶¶ 5(a)-(g) above after receiving
 9           cease and desist letters from Plaintiffs, after the commencement of this action
10           and after and in violation of the Preliminary Injunction Order in this action
11           [Dkt. No. 98]; and
12                    i.       using Plaintiffs’ Marks to advertise the TVpad Service and falsely
13           representing that Plaintiffs have authorized the streaming of their television
14           programming on the TVpad, creating consumer confusion regarding Plaintiffs’
15           relationship, authorization, sponsorship and affiliation with Defendants’
16           products and services.
17           6.       Defendants’ acts constitute:
18                    a.       direct infringement, contributory infringement and vicarious
19           infringement of Plaintiffs’ Copyrighted Programming in violation of the
20           Copyright Act, 17 U.S.C. § 101 et seq.;
21                    b.       federal trademark infringement and unfair competition under the
22           Lanham Act, 15 U.S.C. § 1125(a);
23                    c.       common law trademark infringement and unfair competition; and
24                    d.       violation of California Business and Professions Code § 17200 et
25           seq.
26           7.       Defendants are ordered to pay damages to Plaintiffs in the amount of
27   $55,460,691.
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     DWT 30172351v1 0094038-000021
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 67 of 96 Page ID
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 1           8.       Defendants are ordered to pay Plaintiffs’ attorneys fees in the amount of
 2   $1,451,490, and post-judgment interest, pursuant to 28 U.S.C. § 1961(a), “at a rate
 3   equal to the weekly average 1-year constant maturity Treasury yield, as published by
 4   the Board of Governors of the Federal Reserve System, for the calendar week
 5   preceding the date of the judgment.”
 6           9.       Defendants, and all of their parents, subsidiaries, affiliates, officers,
 7   agents, servants and employees, and all those persons or entities acting in active
 8   concert or participation with Defendants (including but not limited to parties that
 9   procure or provide sales, distribution, shipping or logistics services, primary and
10   backup storage services, or web, server or file hosting services on behalf of
11   Defendants, including but not limited to those parties listed in Exhibits C and D)
12   and all persons and entities who receive actual notice of this Order (collectively, the
13   “Enjoined Parties”) are immediately and permanently enjoined from engaging in any
14   of the following activities:
15                    a.       Distributing, selling, advertising, marketing or promoting any
16           TVpad Device;
17                    b.       Transmitting, retransmitting, assisting in the transmission of,
18           requesting transmission of, streaming, hosting or providing unauthorized
19           access to, or otherwise publicly performing, directly or indirectly, by means of
20           any device or process, Plaintiffs’ Copyrighted Programming;
21                    c.       Authorizing, hosting, reproducing, downloading, selling or
22           otherwise distributing the Infringing TVpad Apps, including without
23           limitation offering them in the TVpad Store, loading them onto any TVpad
24           Device or any Comparable System, offering or providing them on Internet
25           websites, or providing the Infringing TVpad Apps to consumers on separate
26           media;
27                    d.       Creating or providing assistance to others who wish to create an
28           Infringing TVpad App;
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 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 68 of 96 Page ID
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 1                    e.       Advertising, displaying, marketing or otherwise promoting any of
 2           the Infringing TVpad Apps, including without limitation publicly displaying
 3           any of the Plaintiffs’ Copyrighted Programming in connection therewith or in
 4           connection with the TVpad Device or any Comparable System, including
 5           without limitation via the TVpad Websites;
 6                    f.       Distributing, selling, advertising, marketing or promoting any
 7           TVpad Device that contains, connects to, or offers for download any
 8           Infringing TVpad App, or promotes any Infringing TVpad App through the
 9           inclusion of icons for said Infringing TVpad App;
10                    g.       Distributing, selling, advertising, marketing or promoting any
11           TVpad Device that contains, connects to, offers for download, transmits,
12           assists in the transmission of, streams, hosts, provides access to, or otherwise
13           publicly performs, directly or indirectly, by means of any devise ofdevice or
14           process, Plaintiffs’ Copyrighted Programming without permission;
15                    h.       Distributing, selling, advertising, marketing or promoting any
16           Comparable System that contains, connects to, offers for download, transmits,
17           assists in the transmission of, streams, hosts, provides access to, or otherwise
18           publicly performs, directly or indirectly, by means of any devise ofdevice or
19           process, Plaintiffs’ Copyrighted Programming without permission;
20                    i.       Providing or controlling servers which contain any of Plaintiffs’
21           Copyrighted Programming; and
22                    j.       Assisting with end-user reproductions or transmissions of any of
23           Plaintiffs’ Copyrighted Programming through a tracker server, or any other
24           server or software that assists users or devices in locating, identifying or
25           obtaining reproductions or transmission of any of Plaintiffs’ Copyrighted
26           Programming, including from other users offering reproductions or
27           transmissions of any of Plaintiffs’ Copyrighted Programming;
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     DWT 30172351v1 0094038-000021
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 69 of 96 Page ID
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 1                    k.       Otherwise infringing Plaintiffs’ rights in their Copyrighted
 2           Programming, whether directly, contributorily, vicariously or in any other
 3           manner.
 4           10.      The Enjoined Parties are further immediately and permanently enjoined
 5   from engaging in any activities having the object or effect of fostering infringement
 6   of Plaintiffs’ Copyrighted Programming, whether through the Infringing TVpad
 7   Apps or otherwise, including without limitation engaging in any of the following
 8   activities:
 9                    a.       Advertising or promoting unauthorized access to or the
10           availability of Plaintiffs’ Copyrighted Programing;
11                    b.       Encouraging or soliciting others to transmit or reproduce
12           Plaintiffs’ Copyrighted Programming;
13                    c.       Encouraging or soliciting others to upload, post or index any files
14           that constitute, correspond, point or lead to any of Plaintiffs’ Copyrighted
15           Programming;
16                    d.       Encouraging or soliciting others to offer transmission of
17           Plaintiffs’ Copyrighted Programming;
18                    e.       Providing technical assistance, support services or servers to
19           others engaged in infringement of, or seeking to infringe, Plaintiffs’
20           Copyrighted Programming;
21                    f.       Creating, maintaining, highlighting or otherwise providing access
22           to lists or forums that include, refer to or signal the availability of Plaintiffs’
23           Copyrighted Programming;
24                    g.       Including references to Plaintiffs’ Copyrighted Programming or
25           the Infringing TVpad Apps in promotional materials; and
26                    h.       Creating, maintaining or providing access to the Infringing
27           TVpad Apps.
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 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 70 of 96 Page ID
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 1           11.      The Enjoined Parties shall not enter into any agreement or transaction
 2   whatsoever to sell, lease, license, assign, convey, distribute, loan, encumber, pledge
 3   or otherwise transfer, whether or not for consideration or compensation, any part of
 4   the system, software, source code, data file, other technology, domain names,
 5   trademarks, brands, or files used in connection with the TVpad Device, Infringing
 6   TVpad Apps or any Comparable System.
 7           12.        Defendants shall identify to Plaintiffs all domain names and IP
 8   addresses and the physical locations of all servers owned, leased or operated by any
 9   of the Enjoined Parties that are used in connection with the activities enjoined under
10   Paragraphs 9 and 10, above, within 7 days of the entry of this Permanent Injunction.
11           13.      Further, the Enjoined Parties are immediately and permanently enjoined
12   from engaging in any of the following activities:
13                    a.       Using the CCTV or TVB Marks, or any other mark, design
14           reproduction, copy or symbol that is a colorable imitation thereof, or
15           confusing similar thereto, in connection with broadcasting or entertainment
16           services, or related goods or services, not originating from or authorized by
17           Plaintiffs;
18                    b.       Using the CCTV or TVB Marks, or any other mark, design
19           reproduction, copy or symbol that is a colorable imitation thereof, in any
20           manner likely to cause confusion, to cause mistake, or to deceive the
21           consuming public;
22                    c.       Representing in any manner, or by any method whatsoever, that
23           goods and services provided by the Enjoined Parties are licensed, sponsored,
24           approved, authorized by, or originate from Plaintiffs or otherwise taking any
25           action likely to cause confusion, mistake, or deception as to the origin,
26           approval, sponsorship or license of such goods or services;
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 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 71 of 96 Page ID
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 1                    d.       Committing any acts calculated or likely to cause consumers to
 2           believe that the Enjoined Parties’ products and services are authorized by
 3           Plaintiffs;
 4                    e.       Infringing or diluting, whether directly or indirectly, the
 5           distinctive quality of the CCTV Marks or the TVB Marks; and
 6                    f.       Unfairly competing with Plaintiffs in any manner.
 7           14.      As the Court has personal jurisdiction over Defendants and has
 8   concluded that the conduct of Defendants induces infringement of Plaintiffs’
 9   Copyrighted Programming in the United States under the copyright laws of the
10   United States and infringes the CCTV Marks and TVB Marks under the trademark
11   laws of the United States, this Permanent Injunction enjoins the conduct of
12   Defendants wherever they may be found.
13           15.      Third parties who provide sales, distribution, shipping or logistics
14   services for the TVpad Device or Comparable System, including but not limited to
15   the third party distributors identified in Exhibit D hereto, and who receive actual
16   notice of this Order, are immediately and permanently enjoined from distributing,
17   selling, advertising, marketing or promoting any TVpad Device or Comparable
18   System and from providing any other services enjoined in Paragraphs 9, 10 and 13
19   hereinabove.
20           16.      Third parties providing web, server and file hosting services, data
21   center and colocation services, and primary and backup storage services (including
22   but not limited to cloud storage services) used in connection with the activities
23   enjoined under Paragraphs 9, 10 and 13 hereinabove, including but not limited to the
24   third parties providing hosting services for the Internet servers identified in Exhibit
25   C hereto (including but not limited to servers providing streaming video,
26   application files, TVpad Store or Comparable System functionality, and TVpad
27   Device or Comparable System initialization, operation and authentication) and who
28   receive actual notice of this Order, are immediately and permanently enjoined from
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 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 72 of 96 Page ID
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 1   providing such hosting services to (i) any Enjoined Parties in connection with the
 2   activities enjoined under Paragraphs 9, 10 and 13 hereinabove; (ii) any server, IP
 3   address, domain name or website used in conjunction with the TVpad Device,
 4   Infringing TVpad Apps or any Comparable System; and (iii) the TVpad Websites.
 5           17.      Third parties providing services used in connection with the activities
 6   enjoined under Paragraphs 9, 10 and 13 hereinabove, including but not limited to
 7   back-end service providers, service providers routing traffic or providing bandwidth,
 8   content delivery networks and domain name server systems (including but not
 9   limited to CloudFlare and DNSPod), search-based online advertising services (such
10   as through paid inclusion, paid search results, sponsored search results, sponsored
11   links, and Internet keyword advertising), domain name registration privacy
12   protection services, providers of social media services (including but not limited to
13   Facebook and Twitter), user generated and online content services (including but not
14   limited to YouTube) and data security services (including but not limited to denial-
15   of-service attack prevention, firewall and proxy services), who receive actual notice
16   of this Order are permanently enjoined from providing such services to: (i) any
17   Enjoined Parties in connection with the activities enjoined under Paragraphs 9, 10
18   and 13 hereinabove; (ii) any server, IP address, domain name or website used in
19   conjunction with the TVpad Device, Infringing TVpad Apps or any Comparable
20   System; and (iii) the TVpad Websites.
21           18.      The domain name registries (including but not limited to VeriSign, Inc.)
22   and/or registrars holding or listing the domain names itvpad.com, mtvpad.com or
23   tvpadfans.com or one or more of the domain names used in connection with the
24   activities enjoined under Paragraphs 9, 10 and 13 hereinabove (including but not
25   limited to the domain names identified in Exhibit C hereto), and who receive actual
26   notice of this Order, shall (1) temporarily disable these domain names, or any subset
27   of these domain names specified by Plaintiffs, through a registry hold or otherwise,
28   and make them inactive and non-transferable; and (2) at the direction of Plaintiffs,
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 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 73 of 96 Page ID
                                  #:21893




 1   transfer these domain names to Plaintiffs’ ownership and control, including, inter
 2   alia, by changing the registrar of record to the registrar of Plaintiffs’ choosing.
 3           19.      Service by mail upon Defendants of a copy of this Default Judgment
 4   and Permanent Injunction once entered by the Court is deemed sufficient notice to
 5   Defendants under Federal Rule of Civil Procedure 65. It shall not be necessary for
 6   Defendants to sign any form of acknowledgement of service.
 7           20.      This Permanent Injunction shall bind the Enjoined Parties. Defendants
 8   shall provide a copy of this Permanent Injunction to their officers, agents, servants,
 9   employees, attorneys, principals, shareholders, members, current and future
10   administrators or moderators of the any online forums associated with Defendants,
11   the TVpad Device, the TVpad Apps, or Comparable System.
12           21.      Violation of this Permanent Injunction shall expose Defendants and all
13   other persons bound by this Permanent Injunction to all applicable penalties,
14   including contempt of Court.
15           22.      Within 14 days of the date the Court enters this Permanent Injunction,
16   Defendants shall file and serve a report in writing and under oath setting forth in
17   detail the manner and form with which Defendants have complied with the
18   Permanent Injunction.
19           23.      The Court finds there is no just reason for delay in entering this Default
20   Judgment and Permanent Injunction and, pursuant to Fed. R. Civ. P. 54(a), the Court
21   direct immediate entry of this Default Judgment and Permanent Injunction.
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 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 74 of 96 Page ID
                                  #:21894




 1           23.24. The Court shall retain jurisdiction of this action to entertain such further
 2   proceedings and to enter such further orders as may be necessary or appropriate to
 3   implement and enforce the provisions of this Default Judgment and Permanent
 4   Injunction.
 5   IT IS SO ORDERED.
 6

 7   _____________, 2016
 8           ___________________________________2017
 9           ___________________________________
                                                Hon. Stephen V. Wilson
10                                       Judge of the United States District Court
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     DWT 30172351v1 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 75 of 96 Page ID
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                                  Exhibit B – Infringing TVpad Apps


                                           TVpad3                           TVpad4


  Infringing TVpad App              Plaintiffs’ Programming         Plaintiffs’ Programming
         and icon                           and Mode                        and Mode


        BETV PLUS                                                CCTV 1 (live & replay live),
                                                                 CCTV 2 (live), CCTV 3 (live &
                                                                 replay live), CCTV 4 (live &
                                                                 replay live), CCTV6 (live &
                                                                 replay live), CCTV 10 (live),
                                                                 CCTV 11 (live), CCTV12 (live),
                                                                 CCTV13 (live & replay live),
                                                                 CCTV14 (live & replay live)


          BETV_HD                CCTV 1 HD (live), CCTV 5 HD
                                 (live)




           BETV II               CCTV 1 (live & replay live),
                                 CCTV 2 (live), CCTV 3 (live &
                                 replay live), CCTV 4 (live &
                                 replay live), CCTV 5 (live &
                                 replay live), CCTV 5+ (live),
                                 CCTV6 (live & replay live),
                                 CCTV 10 (live), CCTV 11
                                 (live), CCTV12 (live), CCTV13
                                 (live & replay live), CCTV14
                                 (live & replay live), CCTV桶ḹ
                                 嵛䎫炷CCTV fengyun soccer)
                                 (live)




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Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 76 of 96 Page ID
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                                           TVpad3                          TVpad4


  Infringing TVpad App              Plaintiffs’ Programming        Plaintiffs’ Programming
         and icon                           and Mode                       and Mode


            BETV                 CCTV 1, CCTV 2, CCTV 3,
                                 CCTV 4, CCTV 5+, CCTV6,
                                 CCTV 10, CCTV 11, CCTV12,
                                 CCTV13, CCTV14, CCTV桶ḹ
                                 嵛䎫炷CCTV fengyun soccer)
                                 (all live)


         䱝㴟㗪䦣ġ                   JADE HD, JADE (both time-       JADE HD, JADE (both time-
      (Yue Hai Shi Yi)           shifted by 12 hours)            shifted by 12 hours)




        䱝㴟⮔柣                     JADE HD, JADE HD, J2,
    (Yue Hai Kuan Pin)           JADE, PEARL, iNews (all live)




        䱝ᾏᑄ㢖2                    JADE HD, JADE, J2 (Live and
   (Yue Hai Kuan Pin 2)          replay live) PEARL, iNews
                                 (live)




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Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 77 of 96 Page ID
                                 #:21897




                                           TVpad3                         TVpad4


  Infringing TVpad App              Plaintiffs’ Programming       Plaintiffs’ Programming
         and icon                           and Mode                      and Mode


        ⢚⥙⤡㟁ど                    JADE HD, JADE, J2 (live and   JADE HD, JADE, J2, PEARL
   (Gang Yue Wang Luo            replay live); PEARL, iNews    (live and replay live); iNews
        Dian Shi)                (live)                        (live)

                                 TVB programs on demand        TVB programs on demand




         䱝㴟䚜㑕                    iNews, J2, PEARL, JADE,
      (Yue Hai Zhi Bo)           JADE HD (live)




            516TV                TVBS (live)




        516⥙㊰㟁ど                  CCTV4 (live)                  CCTV4 (live)
      (516 Online TV)
                                 TVBS (live)                   TVBS (live)

                                                               TVBS News (live)




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Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 78 of 96 Page ID
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                                           TVpad3                      TVpad4


  Infringing TVpad App             Plaintiffs’ Programming      Plaintiffs’ Programming
         and icon                          and Mode                     and Mode


             HITV                JADE HD, J2, JADE, PEARL,
                                 iNews (live)




          య⫱online               CCTV 1, CCTV 5, CCTV 5+,     CCTV 5, CCTV 5+, CCTV桶ḹ
        (Sport Online)           CCTV桶ḹ嵛䎫炷CCTV                嵛䎫ġ(CCTV fengyun soccer),
                                 fengyun soccer) (all live)   CCTV 㧗霁臄. ⨒⌫(CCTV
                                                              Golf/ Tennis) (all live)




          䱝⾓䚳                    TVB programs on demand
   (Gang Yue Kuai Kan)




     ྎṊಘ(Gang Tai Wu             TVB programs on demand       TVB programs on demand
        Xia)




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Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 79 of 96 Page ID
                                 #:21899




           Infringing blueTV App                           Plaintiffs’ Programming
                  and icon                                         and Mode




                    Storm TV                CCTV 1, CCTV 3, CCTV 4, CCTV 5, CCTV
                                            5+,CCTV 云足球（CCTV fengyun soccer), CCTV
                                            6, CCTV 11, CCTV 12, CCTV 13, CCTV 14 (Live,
                                            Replay Live, VOD)

                                            JADE, JADE HD, J2, J5, Pearl, iNews (Live,
                                            Replay Live and VOD)


               Storm TV Chinese             CCTV 1, CCTV 3, CCTV 4, CCTV 5, CCTV
                   interface                5+,CCTV 云足球（CCTV fengyun soccer), CCTV
                                            6, CCTV 11, CCTV 12, CCTV 13, CCTV 14 (Live,
                                            Replay Live and VOD)

                                            JADE, JADE HD, J2, J5, Pearl, iNews (Live,
                                            Replay Live, VOD)




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Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 80 of 96 Page ID
                                 #:21900




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 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 81 of 96 Page ID
                                         #:21901
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Host                         IP address        Date of detection Domain Name      Function
ClearDDoS Technologies       103.240.140.142   September 3, 2015 xz.boxepg.com    Initialization
Los Angeles, California                                                           TVpad3 Operational Content
Defender cloud               23.234.42.71      September 3, 2015 xzsec.boxepg.com Initialization
international                                                                     TVpad3 Operational Content
Los Angeles, California
Defender cloud               23.234.42.65      September 3, 2015 xzsec.padepg.com   Initialization
international                                                                       TVpad3 Operational Content
Los Angeles, California
Defender cloud               23.234.42.72      September 3, 2015 xzsec.listebox.com Initialization
international                                                                       TVpad3 Operational Content
Los Angeles, California
Perfect International, Inc   70.36.96.245      September 3, 2015 stbepg.wsxlist.com TVpad3 Authentication
Los Angeles, California
Enzu                         23.245.203.54     September 3, 2015 stbepg.qaxlist.com TVpad4 Authentication
Los Angeles, California
Defender cloud               23.234.41.173     September 3, 2015                    Streaming Video
international
Los Angeles, California
ClearDDoS Technologies       104.193.92.42     September 3, 2015                    Streaming Video
Los Angeles, California
CloudDDoS                    104.171.230.101   September 3, 2015                    Streaming Video
Technologies
San Jose, California
CloudDDoS                    45.61.239.39      September 3, 2015                    Streaming Video
Technologies
San Jose, California
CloudDDoS                    104.167.81.51     September 3, 2015                    Streaming Video
Technologies
San Jose, California
Sharktech                    170.178.188.195   September 3, 2015                    Streaming Video
Los Angeles, California
CloudDDoS                    45.61.239.26      September 3, 2015                    Streaming Video
Technologies
San Jose, California
Sharktech                    170.178.188.194   September 3, 2015                    Streaming Video
Los Angeles, California
Sharktech                    107.167.9.243     September 3, 2015                    Streaming Video
Los Angeles, California
Sharktech                    170.178.172.19    September 3, 2015                    Streaming Video
Los Angeles, California




                                                        1
                                                                                               EXHIBIT C
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 82 of 96 Page ID
                                         #:21902
                 Exhibit C - TVpad Server IP Addresses and Domain Names


CloudDDoS                 45.61.239.33      September 3, 2015   Streaming Video
Technologies
San Jose, California
CloudDDoS                 104.171.230.82    September 3, 2015   Streaming Video
Technologies
San Jose, California
Sharktech                 170.178.181.227   September 3, 2015   Streaming Video
Los Angeles, California
Sharktech                 170.178.182.3     September 3, 2015   Streaming Video
Los Angeles, California
Sharktech                 107.167.4.227     September 3, 2015   Streaming Video
Los Angeles, California
Sharktech                 107.167.18.227    September 3, 2015   Streaming Video
Los Angeles, California
CloudDDoS                 104.171.230.74    September 3, 2015   Streaming Video
Technologies
San Jose, California
CloudDDoS                 45.61.239.19      September 3, 2015   Streaming Video
Technologies
San Jose, California
ClearDDoS Technologies    162.221.13.98     September 3, 2015   Streaming Video
Los Angeles, California
Enzu                      23.89.100.59      September 3, 2015   Streaming Video
Los Angeles, California
CloudDDoS                 45.61.239.75      September 3, 2015   Streaming Video
Technologies
San Jose, California
ZeroDDOS                  104.201.61.3      September 3, 2015   Streaming Video
Los Angeles, California
ZeroDDOS                  167.88.205.116    September 3, 2015   Streaming Video
Los Angeles, California
Cloudflare                104.20.4.235      September 3, 2015   Streaming Video
Defender cloud            23.234.41.171     September 3, 2015   Streaming Video
international
Los Angeles, California
Enzu                      104.202.82.178    September 3, 2015   Streaming Video
Los Angeles, California
Krypt Technologies        98.126.0.98       September 3, 2015   Streaming Video
Los Angeles, California
Enzu                      107.183.113.242   September 3, 2015   Streaming Video
Los Angeles, California
Enzu                      23.245.73.18      September 3, 2015   Streaming Video
Los Angeles, California

                                                     2
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 83 of 96 Page ID
                                         #:21903
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Krypt Technologies          98.126.4.194      September 3, 2015                    Streaming Video
Los Angeles, California
Enzu                        23.89.185.2       September 3, 2015                    Streaming Video
Los Angeles, California
Krypt Technologies          174.139.162.50    September 3, 2015                    Streaming Video
Los Angeles, California
Krypt Technologies          174.139.83.4      September 3, 2015                    Streaming Video
Los Angeles, California
Enzu                        107.183.246.226   September 3, 2015                    Streaming Video
Los Angeles, California
CloudDDoS                   104.171.230.86    September 3, 2015                    Streaming Video
Technologies
San Jose, California
Cloudflare (res.sinohao.c   104.20.4.235      September 3, 2015                    TVpad Store Menus/Graphics
om.cdn.cloudflare.net)      104.20.5.235                                           Infringing Apps
                            104.20.7.235
                            104.20.8.235
ClearDDoS Technologies      104.193.92.29     September 3, 2015 cmsres.wsxlist.com TVpad Store Menus/ Graphics
Los Angeles, California                                                            Infringing Apps
Enzu                        23.245.203.54     September 3, 2015 bi4.wsxlist.com    TVpad4 Store
Los Angeles, California                                                            Menus/Graphics
Enzu                        23.245.203.54     September 3, 2015 btvstb.xqlzoy.com TVpad4 Store
Los Angeles, California                                                            Menus/Graphics
Enzu                        23.245.203.54     September 3, 2015 stbepg.qaxlist.com TVpad4 Store
Los Angeles, California                                                            Menus/Graphics
ZeroDDOS                    167.88.196.51     September 3, 2015 res.qaxlist.com    TVpad Operational Content
Los Angeles, California
Enzu                        23.245.203.54     September 3, 2015 sepg.qaxlist.com   TVpad Operational Content
Los Angeles, California                                                            Infringing Apps’ Program
                                                                                   Guides
ClearDDoS Technologies      162.221.15.79     September 3, 2015 ykhp.livetvpad.com TVpad3 Operational Content
Los Angeles, California
ClearDDoS Technologies      162.221.15.79     September 3, 2015 gqfc.livetvpad.com TVpad3 Operational Content
Los Angeles, California
ClearDDoS Technologies      162.221.15.79     September 3, 2015 fc.livetvpad.com   TVpad3 Operational Content
Los Angeles, California
ClearDDoS Technologies      162.221.15.79     September 3, 2015 yhsy.livetvpad.com TVpad3 Operational Content
Los Angeles, California
ClearDDoS Technologies      162.221.15.79     September 3, 2015 dlgq.livetvpad.com TVpad3 Operational Content
Los Angeles, California
ClearDDoS Technologies      162.221.15.79     September 3, 2015 sports.livetvpad.co TVpad3 Operational Content
Los Angeles, California                                         m




                                                       3
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 84 of 96 Page ID
                                         #:21904
                 Exhibit C - TVpad Server IP Addresses and Domain Names


PEER 1 Network Inc        107.6.45.86       September 3, 2015 bsap.wsxlist.com   TVpad3 Operational Content
Santa Ana, CA
Krypt Technologies        174.139.233.3     September 3, 2015 tytuepg.wsxlist.com TVpad3 Operational Content
Los Angeles, California
Nobis Technology          23.19.131.19      September 3, 2015 force2009web.net   TVpad3 Operational Content
Seattle, Washington
LimeStone Networks        63.143.43.171     September 3, 2015 vistv.plbegy.com   TVpad4 Operational Content
Dallas, Texas
ClearDDoS Technologies    162.221.12.143    September 3, 2015 gyyyer.plbegy.com TVpad4 Operational Content
Los Angeles, California
Hostspace Networks        198.44.250.177    September 3, 2015 mhleve.oyhrtp.com TVpad4 Operational Content
Los Angeles, California
LimeStone Networks        74.63.227.30      September 3, 2015 npxyc.prsolive.com TVpad4 Operational Content
Dallas, Texas
Hostspace Networks        23.234.51.152     September 3, 2015 canpic.vdese.com   VOD Thumbnail graphics
Los Angeles, California
Hostspace Networks        162.211.182.49    December 14,                         DNS Lookup TVpad
                                            2014                                 Operational Content
Defender cloud            23.234.42.71      December 14,                         DNS Lookup TVpad
international                               2014                                 Operational Content
Defender cloud            23.234.42.65      November 25,                         DNS Lookup TVpad
international                               2014                                 Operational Content
Defender cloud            23.234.42.72      December 14.2014                     DNS Lookup TVpad
international                                                                    Operational Content
ClearDDoS Technologies    104.193.92.29     January 30, 2015                     TVpad Authorization
Defender cloud            23.234.42.67      January 30, 2015                     TVpad Authorization
international
ClearDDoS Technologies    23.234.42.66      November 25,                         TVpad Store Menus/Graphics
                                            2014
Datashack                 198.204.242.5     November 25,                         TVpad Store Menus/ Graphics
                                            2014                                 Infringing Apps

ClearDDoS Technologies    103.240.140.149   January 30, 2015                     TVpad4 Store
                                                                                 Menus/Graphics
CloudDDOS                 168.235.240.115   January 30, 2015                     TVpad Operational Content

Sharktech                 107.167.14.146    November 25,                         TVpad Operational Content
                                            2014

CloudDDOS                 168.235.240.115   January 30, 2015                     TVpad Operational Content
                                                                                 Infringing Apps’ Program
                                                                                 Guides




                                                     4
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 85 of 96 Page ID
                                         #:21905
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Defender cloud            23.234.40.235     November 25,       TVpad Operational Content
international                               2014

China Telecom             23.234.40.235     November 25,       TVpad Operational Content
                                            2014

Hostspace Networks        162.211.182.173   November 25,       TVpad Operational Content
                                            2014

Hostpace Networks         162.211.182.173   November 25,       TVpad Operational Content
                                            2014

Hostpace Networks         162.211.182.173   November 25,       TVpad Operational Content
                                            2014

Nobis Technology          23.105.74.107     November 25,       TVpad Operational Content
                                            2014

Enzu                      23.88.131.131     January 30, 2015   TVpad4 Operational Content

Protected by Cloudflare   104.28.24.55      January 30, 2015   TVpad4 Operational Content
Location unknown
Sharktech                 107.167.7.34      January 30, 2015   TVpad4 Operational Content

Chinanet                  61.174.48.109     January 30, 2015   TVpad4 Operational Content
China
ClearDDoS Technologies    162.221.13.44     January 30, 2015   TVpad4 Operational Content

Hostspace Networks        162.211.182.173   January 30, 2015   TVpad4 Operational Content

Hostspace Networks        162.211.182.173   January 30, 2015   TVpad4 Operational Content

Sharktech                 107.167.15.67     November 25,       VOD Thumbnail graphics
                                            2014

ClearDDoS Technologies    103.240.140.142   June 24, 2015      DNS Lookup
                                                               TVpad Operational Content
Defender cloud            23.234.42.71      June 24, 2015      DNS Lookup
international                                                  TVpad Operational Content

Defender cloud            23.234.42.65      June 24, 2015      DNS Lookup
international                                                  TVpad Operational Content




                                                     5
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 86 of 96 Page ID
                                         #:21906
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Defender cloud           23.234.42.72      June 24, 2015    DNS Lookup
international                                               TVpad Operational Content

ClearDDoS Technologies   104.193.92.29     June 24, 2015    TVpad Authorization

Defender cloud           23.234.42.67      June 24, 2015    TVpad Authorization
international

Sharktech                107.167.14.141    June 24, 2015    TVpad Store Menus/Graphics

ClearDDoS Technologies   104.193.92.8      June 24, 2015    TVpad Store Menus/ Graphics
                                                            Infringing Apps
Enzu                     23.245.203.53     June 24, 2015    TVpad4 Store
                                                            Menus/Graphics
Hostspace Networks       162.211.182.173   June 24, 2015    TVpad Operational Content

Sharktech                107.167.14.140    June 24, 2015    TVpad Operational Content
                                                            Infringing Apps’ Program
                                                            Guides
Defender cloud           23.234.40.235     June 24, 2015    TVpad Operational Content
international

Defender cloud           23.234.40.235     June 24, 2015    TVpad Operational Content
international

Cloud-CN                 103.232.215.133   June 24, 2015    TVpad Operational Content

Cloud-CN                 103.232.215.133   June 24, 2015    TVpad Operational Content

Nobis Technology         23.105.74.107     June 24, 2015    TVpad Operational Content

Hostspace Networks       23.234.51.85      June 24, 2015    TVpad4 Operational Content

ClearDDoS Technologies   162.221.12.143    June 24, 2015    TVpad4 Operational Content

Chinanet                 61.174.48.109     June 24, 2015    TVpad4 Operational Content
China
ClearDDoS Technologies   162.221.13.44     June 24, 2015    TVpad4 Operational Content

Gorilla Servers          146.71.102.90     June 24, 2015    TVpad4 Operational Content

Hostspace Networks       162.211.182.173   June 24, 2015    TVpad4 Operational Content



                                                    6
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 87 of 96 Page ID
                                         #:21907
                 Exhibit C - TVpad Server IP Addresses and Domain Names


CloudDDOS                168.235.240.115   June 24, 2015      VOD Thumbnail graphics

Enzu                     104.151.28.194    January 30, 2015   Streaming Video
Cloudddos                104.171.230.30    January 30, 2015   Streaming Video
Technology
Enzu                     23.89.39.194      January 30, 2015   Streaming Video
Cloudddos Technology     168.235.240.149   January 30, 2015   Streaming Video
Clearddos Technologies   104.193.92.111    January 30, 2015   Streaming Video
Cloudddos Technology     168.235.241.77    January 30, 2015   Streaming Video
Clearddos Technologies   162.221.12.41     January 30, 2015   Streaming Video
Clearddos Technologies   104.193.92.60     January 30, 2015   Streaming Video
Cloudddos Technology     168.235.241.60    January 30, 2015   Streaming Video
Esited                   104.171.230.23    January 30, 2015   Streaming Video
Esited                   104.171.230.16    January 30, 2015   Streaming Video
Cloudddos Technology     168.235.240.65    January 30, 2015   Streaming Video
Cloudddos Technology     168.235.241.10    January 30, 2015   Streaming Video
Clearddos Technologies   23.234.41.9       January 30, 2015   Streaming Video
Krypt Technologies       98.126.14.26      January 30, 2015   Streaming Video
Cloudddos Technology     104.171.230.30    January 23, 2015   Streaming Video
Cloudddos Technology     168.235.240.149   January 23, 2015   Streaming Video
ClearDDoS Technologies   104.193.92.111    January 23, 2015   Streaming Video
Esited                   192.225.233.202   January 23, 2015   Streaming Video
Enzu                     104.151.28.194    January 23, 2015   Streaming Video
Enzu                     199.48.69.146     January 23, 2015   Streaming Video
Enzu                     23.89.39.194      January 23, 2015   Streaming Video
Cloudddos Technology     168.235.241.70    January 23, 2015   Streaming Video
Cloudddos Technology     104.171.230.72    January 23, 2015   Streaming Video
Cloudddos Technology     168.235.241.77    January 23, 2015   Streaming Video
Clearddos Technologies   162.221.12.215    January 23, 2015   Streaming Video
Cloudddos Technology     168.235.241.60    January 23, 2015   Streaming Video
Cloudddos Technology     168.235.241.70    January 23, 2015   Streaming Video
Cloudddos Technology     104.171.230.72    January 23, 2015   Streaming Video
Cloudddos Technology     168.235.241.77    January 23, 2015   Streaming Video
Clearddos Technologies   162.221.12.215    January 23, 2015   Streaming Video
Clearddos Technologies   162.221.12.215    January 30, 2015   Streaming Video
Krypt Technologies       67.198.192.3      January 30, 2015   Streaming Video
Cloudddos Technology     168.235.241.77    January 30, 2015   Streaming Video
Cloudddos Technology     104.171.230.72    January 30, 2015   Streaming Video
Cloudddos Technology     168.235.241.60    January 30, 2015   Streaming Video
Krypt Technologies       98.126.14.26      January 30, 2015   Streaming Video


                                                    7
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 88 of 96 Page ID
                                         #:21908
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Cloudddos Technology     104.171.230.72    January 30, 2015   Streaming Video
Clearddos Technologies   162.221.12.215    January 30, 2015   Streaming Video
Cloudddos Technology     168.235.241.60    January 30, 2015   Streaming Video
Krypt Technologies       98.126.14.26      January 30, 2015   Streaming Video
Cloudddos Technology     168.235.241.77    January 30, 2015   Streaming Video
Leaseweb                 162.210.198.179   January 30, 2015   Streaming Video
Krypt Technologies       67.198.192.3      January 30, 2015   Streaming Video
CloudDDOS                168.235.240.79    June 25, 2015      Streaming Video
CloudDDOS                168.235.240.12    June 25, 2015      Streaming Video
CloudDDOS                168.235.240.173   June 25, 2015      Streaming Video
ClearDDOS                104.193.92.62     June 25, 2015      Streaming Video
ZERO DDOS LLC            104.167.81.52     June 25, 2015      Streaming Video
Sharktech                107.167.15.100    June 25, 2015      Streaming Video
CloudDDOS                104.171.230.32    June 25, 2015      Streaming Video
CloudDDOS                168.235.240.79    June 25, 2015      Streaming Video
CloudDDOS                168.235.241.12    June 25, 2015      Streaming Video
ZERO DDOS LLC            104.167.81.52     June 25, 2015      Streaming Video
CloudDDOS                104.171.230.25    June 25, 2015      Streaming Video
Defender cloud           23.234.41.14      June 25, 2015      Streaming Video
international
Enzu                     107.183.236.115   June 23-25, 2015   Streaming Video
Krypt Technologies       67.198.192.3      June 23-25, 2015   Streaming Video
CloudDDOS                104.171.230.87    June 24-25, 2015   Streaming Video
Krypt Technologies       174.139.162.52    June 24-25, 2015   Streaming Video
CloudDDOS                104.171.230.25    June 26, 2015      Streaming Video
Defender cloud           23.234.41.14      June 26, 2015      Streaming Video
international
CloudDDOS                104.171.230.32    June 26, 2015      Streaming Video
CloudDDOS                168.235.240.79    June 26, 2015      Streaming Video
CloudDDOS                168.235.240.173   June 26, 2015      Streaming Video
ZERO DDOS LLC            104.167.81.52     June 26, 2015      Streaming Video
Krypt Technologies       174.139.83.4      June 26, 2015      Streaming Video
CloudDDOS                168.235.240.115   June 26, 2015      Streaming Video
Krypt Technologies       67.198.192.3      June 26, 2015      Streaming Video
Krypt Technologies       98.126.4.194      June 26, 2015      Streaming Video
Krypt Technologies       98.126.14.27      June 26, 2015      Streaming Video
Hostspace Networks       162.211.182.173   June 26, 2015      TVpad 3 Operational Content
ClearDDoS Technologies   162.221.15.179    June 26, 2015      TVpad 3 Operational Content
Sharktech                208.98.26.130     June 26, 2015      TVpad 3 Operational Content




                                                    8
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 89 of 96 Page ID
                                         #:21909
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Hostspace Networks      162.211.182.166   June 26, 2015                         TVpad3 Operational Content

Enzu                    198.56.193.123    June 26, 2015                         Streaming Video
ZERO DDOS LLC           167.88.195.51     June 26, 2015                         Streaming Video
Sharktech               104.171.230.3     June 26, 2015                         Streaming Video
Enzu                    23.89.197.35      June 26, 2015                         Streaming Video
Krypt Technologies      67.198.158.171    June 26, 2015                         Streaming Video
SolidTools              198.40.56.19      June 26, 2015                         Streaming Video
CloudDDOS               168.235.240.20    June 26, 2015                         Streaming Video
C3 Networks             206.226.64.44     October 14, 2015                      Streaming Video
C3 Networks             206.226.64.179    October 14, 2015                      Streaming Video
C3 Networks             107.151.129.22    October 14, 2015                      Streaming Video
C3 Networks             107.151.131.5     October 14, 2015                      Streaming Video
C3 Networks             107.151.28.205    October 14, 2015                      Streaming Video
C3 Networks             107.155.8.40      October 14, 2015                      Streaming Video
C3 Networks             107.155.5.42      October 14, 2015                      Streaming Video
C3 Networks             107.151.128.54    October 14, 2015                      Streaming Video
C3 Networks             107.151.146.14    October 14, 2015                      Streaming Video
C3 Networks             107.151.128.102   October 14, 2015                      Streaming Video
C3 Networks             107.151.128.114   October 14, 2015                      Streaming Video
C3 Networks             107.151.128.98    October 14, 2015                      Streaming Video
C3 Networks             107.151.131.134   October 21, 2015                      Streaming Video
Hostspace               192.126.116.213   October 21, 2015                      TVpad Operational Content
Sharktech               104.37.247.147    October 21, 2015 xz.boxepg.com        DNS Lookup
                                                                                TVpad Operational Content
Sharktech               208.98.42.195     October 15, 2015 bi4.wsxlist.com      TVpad Operational Content
                                                           stbepg.qaxlist.com
Sharktech               174.128.243.36    October 15, 2015 btvstb.xqlzoy.com    Streaming Video
Limestone Networks      63.143.43.171     October 15, 2015 vistv.plbegy.com     TVpad Operational Content
ZBUSA                   192.225.233.60    October 14, 2015                      TVpad Operational Content
Perfect International   70.36.96.245      October 15, 2015 stbepg.wsxlist.com   TVpad Operational Content
                                                           cmsres.wsxlist.com
Enzu                    104.171.230.102   October 21, 2015                      Streaming Video
Enzu                    104.171.230.79    October 21, 2015                      Streaming Video
Enzu                    104.171.230.74    October 21, 2015                      Streaming Video
Enzu                    107.155.5.42      October 21, 2015                      Streaming Video
Enzu                    23.244.42.226     October 21, 2015                      Streaming Video
Enzu                    104.167.81.52     October 21, 2015                      Streaming Video
Enzu                    23.244.84.226     October 21, 2015                      Streaming Video
Enzu                    23.89.197.34      October 21, 2015                      Streaming Video


                                                   9
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 90 of 96 Page ID
                                         #:21910
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Enzu                     104.183.113.245   October 15, 2015                     Streaming Video
Enzu                     104.151.28.205    October 15, 2015                     Streaming Video
Enzu                     104.171.230.92    October 15, 2015                     Streaming Video
Enzu                     107.183.246.229   October 15, 2015                     Streaming Video
Krypt                    98.126.0.102      October 15, 2015                     Streaming Video
Krypt                    98.126.4.198      October 15, 2015                     Streaming Video
Krypt                    67.198.128.30     October 15, 2015                     Streaming Video
Leaseweb                 207.244.83.48     October 15, 2015                     Streaming Video
Enzu                     104.202.82.182    October 15, 2015                     Streaming Video
Enzu                     107.183.113.246   October 15, 2015                     Streaming Video
Enzu                     107.183.236.118   October 15, 2015                     Streaming Video
Enzu                     23.244.76.190     October 15, 2015                     Streaming Video
Enzu                     199.48.69.142     October 15, 2015                     Streaming Video
Enzu                     107.183.246.118   October 15, 2015                     Streaming Video
Enzu                     23.89.185.6       October 15, 2015                     Streaming Video
Enzu                     104.151.28.206    October 15, 2015                     Streaming Video
Enzu                     23.88.126.14      October 15, 2015                     Streaming Video
Enzu                     107.183.246.230   October 15, 2015                     Streaming Video
Enzu                     23.244.76.189     October 15, 2015                     Streaming Video
Enzu                     23.244.82.102     October 15, 2015                     Streaming Video
Enzu                     107.183.246.117   October 15, 2015                     Streaming Video
Enzu                     23.234.51.153     October 15, 2015                     Streaming Video
Enzu                     23.234.51.193     October 15, 2015                     Streaming Video
Enzu                     23.244.76.186     October 15, 2015                     Streaming Video
Enzu                     199.48.69.138     October 15, 2015                     Streaming Video
Enzu                     23.88.126.10      October 15, 2015                     Streaming Video
Enzu                     104.151.28.202    October 15, 2015                     Streaming Video
Enzu                     107.183.246.114   October 15, 2015                     Streaming Video
Enzu                     107.183.236.114   October 15, 2015                     Streaming Video
Tzulo                    206.226.64.44     October 14, 2015                     Streaming Video
Tzulo                    206.226.64.179    October 14, 2015                     Streaming Video
C3 Networks / Zenlayer   107.151.129.77    February 9, 2016   epg.qazlist.com   TVpad Operational Content
Limestone Networks       63.143.43.170     February 9, 2016   tmwk.ukshix.com   TVpad Operational Content
Cloudflare               104.24.126.11     February 9, 2016   res.kkpsg.es      TVpad Operational Content
C3 Networks / Zenlayer   23.236.123.18     February 9, 2016   res.qazlist.com   TVpad Operational Content
OVH Hosting              167.114.100.171   February 9, 2016                     TVpad Operational Content
Amazon                   52.8.86.95        February 9, 2016                     TVpad Operational Content
Amazon                   54.67.50.87       February 9, 2016                     TVpad Operational Content
ClearDDoS                162.221.13.139    February 9, 2016                     TVpad Operational Content



                                                   10
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 91 of 96 Page ID
                                         #:21911
                 Exhibit C - TVpad Server IP Addresses and Domain Names


Hosting Solutions        209.239.123.16    February 9, 2016                      TVpad Operational Content
International
C3 Networks / Zenlayer   107.151.136.46    February 9, 2016                   Streaming Video
C3 Networks / Zenlayer   107.151.136.62    February 9, 2016                   Streaming Video
C3 Networks / Zenlayer   107.151.136.78    February 9, 2016                   Streaming Video
C3 Networks / Zenlayer   107.151.160.32    February 9, 2016                   Streaming Video
Enzu                     107.183.246.230   February 9, 2016                   Streaming Video
Enzu                     23.88.29.222      February 9, 2016                   Streaming Video
Enzu                     23.88.117.214     February 9, 2016                   Streaming Video
Enzu                     23.236.123.38     February 9, 2016                   Streaming Video
Enzu                     23.244.84.27      February 9, 2016                   Streaming Video
Enzu                     104.171.230.127   February 9, 2016                   Streaming Video
Enzu                     104.171.230.92    February 9, 2016                   Streaming Video
ClearDDoS                162.221.13.139    February 9, 2016                   Streaming Video
ClearDDoS                162.221.12.54     February 9, 2016                   Streaming Video
Enzu                     199.231.208.242   February 9, 2016 pydjosm.soppp.net TVpad Operational Content
C3 Networks / Zenlayer   23.236.123.18     February 9, 2016 res.qazlist.com   TVpad Operational Content
C3 Networks / Zenlayer   107.151.129.77    February 9, 2016 epg.qazlist.com   TVpad Operational Content
Cloudflare               104.24.127.11     February 9, 2016 res.kkpsg.es      TVpad Operational Content
Cloudflare               104.24.126.11     February 9, 2016 res.kkpsg.es      TVpad Store Menus/Graphics
                                                                              Infringing Apps
ClearDDoS                162.221.13.44     February 9, 2016 psle.ukshix.com   TVpad Operational Content
ClearDDoS                162.221.12.143    February 9, 2016 mhleve.oyhrtp.com TVpad Operational Content
Limestone Networks       63.143.43.170     February 9, 2016 tmwk.ukshix.com TVpad Operational Content
CLOUDDDOS                45.61.239.11      February 9, 2016 ngdvc.gvplayer.co TVpad Operational Content
                                                            m
HOSTSPACE                192.126.116.213   February 9, 2016 vistv.plbegy.com TVpad Operational Content
NETWORKS
China Unicom             112.90.22.156     February 9, 2016 soreq.soppp.net      TVpad Operational Content
Guangdong
Amazon                   52.32.186.81      February 9, 2016                      TVpad Operational Content
CLOUDDDOS                45.61.29.11       January 25, 2016 poxy.lighope.top     TVpad Operational Content
Nobis                    23.81.180.58      February 11, 2016 download.qabaao.c   App download
                                                             om
Henderson Data Centre    49.213.10.163     January 25, 2016                      DNS Lookup
(HK)
Limestone Networks       63.143.43.174     February 9, 2016 cibn.cngvnet.com     TVpad Operational Content
Limestone Networks       69.162.119.190    February 9, 2016 cn1video.cngvnet.c TVpad Operational Content
                                                            om
Enzu                     23.244.43.235     February 9, 2016 sepg.tgstblist.com TVpad Operational Content
Enzu                     23.244.43.238     February 9, 2016 epg.ccohi.nz         TVpad Operational Content

                                                   11
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 92 of 96 Page ID
                                         #:21912
                 Exhibit C - TVpad Server IP Addresses and Domain Names


ClearDDoS                104.193.92.32     February 9, 2016 bsap.qkmfe.es       TVpad Operational Content
ClearDDoS                162.221.12.143    February 9, 2016 poxy.plbegy.com     TVpad Operational Content
Sharktech                104.37.247.140    February 9, 2016 xzsec.wsxepg.com TVpad Operational Content
                                                            xzsec.rfvstb.com
Sharktech                208.98.42.200     February 9, 2016 xzsec.tepgstb.com TVpad Operational Content
HOSTSPACE                23.234.13.32      February 9, 2016 bi.yoyub.es         TVpad Operational Content
NETWORKS
HOSTSPACE                23.234.51.192     February 9, 2016 stbepg.stblist.es   TVpad Operational Content
NETWORKS
HOSTSPACE                192.126.116.213   February 9, 2016 gyyyer.plbegy.com TVpad Operational Content
NETWORKS
C3 Networks / Zenlayer   23.236.123.34     February 9, 2016 adepg.dzjmd.nz      TVpad Operational Content
C3 Networks / Zenlayer   23.236.123.33     February 9, 2016 asepg.xqlzoy.nz     TVpad Operational Content
C3 Networks / Zenlayer   23.236.123.31     February 9, 2016 xz.tgblist.com      TVpad Operational Content
C3 Networks / Zenlayer   23.236.123.35     February 9, 2016 btvstb.hzxzbox.com TVpad Operational Content
Sourceforge              216.34.181.59     February 9, 2016                     TVpad Operational Content
Sourceforge              216.34.181.60     February 9, 2016                     TVpad Operational Content
Cloudflare               104.24.127.11     February 9, 2016 res.kkpsg.es        Streaming Video / TVpad
                                                                                Store Menus/Graphics
                                                                                Infringing Apps
Cloudflare               104.24.126.11     February 9, 2016 res.kkpsg.es        Streaming Video / TVpad
                                                                                Store Menus/Graphics
                                                                                Infringing Apps
Enzu                     23.88.69.26       February 9, 2016                     Streaming Video
Enzu                     23.88.69.23       February 9, 2016                     Streaming Video
Enzu                     104.202.31.139    February 9, 2016                     Streaming Video
Enzu                     104.151.25.61     February 9, 2016                     Streaming Video
Enzu                     172.246.237.6     February 9, 2016                     Streaming Video
C3 Networks / Zenlayer   23.236.123.10     February 9, 2016                     Streaming Video
C3 Networks / Zenlayer   23.236.123.43     February 9, 2016                     Streaming Video
C3 Networks / Zenlayer   107.151.131.54    February 9, 2016                     Streaming Video
C3 Networks / Zenlayer   107.151.131.166   February 9, 2016                     Streaming Video
C3 Networks / Zenlayer   107.151.131.133   February 9, 2016                     Streaming Video
C3 Networks / Zenlayer   107.151.146.12    February 9, 2016                     Streaming Video
C3 Networks / Zenlayer   107.151.129.94    February 9, 2016                     Streaming Video
C3 Networks / Zenlayer   107.155.5.137     February 9, 2016                     Streaming Video



                                                    12
 Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 93 of 96 Page ID
                                         #:21913
                 Exhibit C - TVpad Server IP Addresses and Domain Names


CloudDDOS             45.61.239.52      February 9, 2016    Streaming Video
CloudDDOS             45.61.239.19      February 9, 2016    Streaming Video
CloudDDOS             45.61.239.26      February 9, 2016    Streaming Video
CloudDDOS             45.61.239.136     February 9, 2016    Streaming Video
CloudDDOS             45.61.239.122     February 9, 2016    Streaming Video
CloudDDOS             45.61.239.180     February 9, 2016    Streaming Video
CloudDDOS             104.171.230.50    February 9, 2016    Streaming Video
CloudDDOS             104.171.230.102   February 9, 2016    Streaming Video
CloudDDOS             104.171.230.3     February 9, 2016    Streaming Video
HOSTSPACE             23.234.13.27      February 9, 2016    Streaming Video
NETWORKS
HOSTSPACE             23.234.51.179     February 9, 2016    Streaming Video
NETWORKS
Hostkey/Mir Network   141.105.65.146    February 9, 2016    Streaming Video
Hostkey/Mir Network   141.105.65.148    February 9, 2016    Streaming Video
Hostkey               5.39.216.124      February 9, 2016    Streaming Video
Voxility              5.254.104.22      February 9, 2016    Streaming Video




                                                13
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 94 of 96 Page ID
                                 #:21914



                                 TVpad4 IP Addresses and Domain Names

 Host                      IP address           Date of          Domain Name      Function
                                                detection
                                  TVpad4 connected through a US IP address
 Alibaba (Hong             47.90.105.42    April 14, 2017 appepg.lpvlj.nz  TVpad4 Authentication
 Kong)
 Enzu (US)                 23.244.43.236        April 14, 2017   xml.wwcwd.es     TVpad4 Operational Content
 Cloudflare (US)           104.27.153.76        April 14, 2017   res.blhhn.nz     TVpad4 Operational Content
 eNom (US)                 69.64.147.242        April 14, 2017   res.kkpsg.es     TVpad4 Operational Content
 AZURE                     45.61.239.11         April 14, 2017   poxy.thryee.es   TVpad4 Operational Content
 TECHNOLOGY
 (US)
 Defender Network          23.234.13.27         April 14, 2017                    Live, Replay Live and VOD
 (US)                                                                             Streaming Video
 AZURE                     45.61.239.33         April 14, 2017                    Live, Replay Live and VOD
 TECHNOLOGY                                                                       Streaming Video
 (US)
 AZURE                     104.171.230.80       April 14, 2017                    Live, Replay Live and VOD
 TECHNOLOGY                                                                       Streaming Video
 (US)
 AZURE                     104.171.230.102 April 14, 2017                         Live, Replay Live and VOD
 TECHNOLOGY                                                                       Streaming Video
 (US)
 AZURE                     45.61.239.122        April 14, 2017                    Live, Replay Live and VOD
 TECHNOLOGY                                                                       Streaming Video
 (US)
 AZURE                     104.171.230.3        April 14, 2017                    Live, Replay Live and VOD
 TECHNOLOGY                                                                       Streaming Video
 (US)
 AZURE                     45.61.239.180        April 14, 2017                    Live, Replay Live and VOD
 TECHNOLOGY                                                                       Streaming Video
 (US)
 Zenlayer (US)             23.236.123.39        April 14, 2017                    Live, Replay Live and VOD
                                                                                  Streaming Video
 Zenlayer (US)             107.151.128.172 April 14, 2017                         Live, Replay Live and VOD
                                                                                  Streaming Video
 Zenlayer (US)             107.155.5.136        April 14, 2017                    Live, Replay Live and VOD
                                                                                  Streaming Video
 Zenlayer (US)             23.236.123.53        April 14, 2017                    Live, Replay Live and VOD
                                                                                  Streaming Video
 Zenlayer (US)             107.151.129.45       April 14, 2017                    Live, Replay Live and VOD
                                                                                  Streaming Video



                                                        14
 NG-S40TG52V 4824-1397-1783v.1 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 95 of 96 Page ID
                                 #:21915



 Host                      IP address           Date of          Domain Name   Function
                                                detection
 Zenlayer (US)             107.151.129.22       April 14, 2017                 Live, Replay Live and VOD
                                                                               Streaming Video
 HostSpace (US)            23.234.51.208        April 14, 2017                 Live, Replay Live and VOD
                                                                               Streaming Video
 HostSpace (US)            23.234.13.40         April 14, 2017                 Live, Replay Live and VOD
                                                                               Streaming Video
 HostSpace (US)            23.234.51.105        April 14, 2017                 Live, Replay Live and VOD
                                                                               Streaming Video
 ZERO DDOS (US)            104.167.81.53        April 14, 2017                 Live, Replay Live and VOD
                                                                               Streaming Video




                                                        15
 NG-S40TG52V 4824-1397-1783v.1 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 211-3 Filed 04/17/17 Page 96 of 96 Page ID
                                 #:21916



                            blueTV Server IP Addresses and Domain Names

 Host                      IP address           Date of         Domain Name         Function
                                                detection
                                   blueTV connected through a US IP address
 Nobis Technology          23.81.180.59     April 4, 2017   stbepg.adynd.top blueTV Authentication
 (US)
 Cloudflare                104.31.84.32         April 4, 2017   djres.grgog.top     blueTV apps store/download
 Enzu (US)                 23.244.43.238        April 4, 2017   bi.ugddb.nz         blueTV Operational Content
 Enzu (US)                 23.244.76.2          April 4, 2017   poxy.blueseae.top   blueTV Operational Content
 Zenlayer (US)             107.151.136.130      April 4, 2017   poxy.hrsnos.com     blueTV Operational Content
 Nobis Technology          23.81.180.62         April 4, 2017   xml.edijv.top       blueTV Operational Content
 (US)
 Nobis Technology          23.81.180.61         April 4, 2017   appepg2.appepg.e    blueTV Operational Content
 (US)                                                           s xz.yhnbox.com
 Cloudflare                104.31.84.109        April 4, 2017   res.kkpsg.es        blueTV Operational Content
 Cloudflare                104.28.8.33          April 4, 2017   res.pxhdy.top       blueTV Operational Content
 Clear DDOS (US)           104.193.92.6         April 4, 2017   cnpic.hhnff.top     blueTV Operational Content
 Defender Network          23.234.13.22         April 4, 2017                       Live, Replay Live and VOD
 (US)                                                                               Streaming Video
 Defender Network          23.234.51.96         April 4, 2017                       Live, Replay Live and VOD
 (US)                                                                               Streaming Video
 Clear DDOS (US)           162.221.12.64        April 4, 2017                       Live, Replay Live and VOD
                                                                                    Streaming Video
 Azure Tech (US)           104.171.230.15       April 4, 2017                       Live, Replay Live and VOD
                                                                                    Streaming Video
 Azure Tech (US)           45.61.239.141        April 4, 2017                       Live, Replay Live and VOD
                                                                                    Streaming Video
 Zenlayer (US)             107.151.128.38       April 4, 2017                       Live, Replay Live and VOD
                                                                                    Streaming Video
 Zenlayer (US)             107.151.136.131 April 4, 2017                            Live, Replay Live and VOD
                                                                                    Streaming Video
 Zenlayer (US)             107.151.128.108 April 4, 2017                            Live, Replay Live and VOD
                                                                                    Streaming Video




                                                        16
 NG-S40TG52V 4824-1397-1783v.1 0094038-000021
